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                     EXHIBIT 3
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                                           AFFIDAWT

STATE OF LOUISIANA

PARISH OF          •.r1ec
          BEFORE ME, the undersigned Notary Public, personally came and appeared,

                                   CHRISTINA E. MANCUSO

Who, after being first duly sworn did state as follows:

     1)      I am an attorney employed by the Andry Lerner L.L.C. law firm (“AL”) in New
             Orleans, Louisiana. I make this Affidavit. The statements contained in this Affidavit
             are within my personal knowledge, and, if called upon to testify, I could and would
             testify competently thereto.
     2)      I attended Baylor University in Waco, Texas (13.A., 1982) and Baylor Law School
             (J.D. 1984). I was admitted to the State Bar of Texas in 1984 and practiced at several
             firms from 1984— 1990. I worked at Baron & Budd, P.C. in Dallas, Texas from 1990
             until 2007 in Mass-Tort/Multi-Party Toxic Tort litigation.         I hold an AV®
             PreeminentTM Rating by Martindale-Hubbell.

     3)     1 am the senior AL staff attorney handling claims for property and economic damages
            resulting from the BP “Deepwater Horizon” Oil Spill in the Gulf of Mexico on April
            20, 2010 (“Oil Spill”). My responsibilities include the preparation, filing, and
            processing of our clients’ Oil Spill claims. I am knowledgeable about AL’s Oil Spill
            client files.

     4)     In the normal course of business, AL uses various contracts and agreements to set
            forth the terms of AL’s representation of its clients. These forms include:
                a. Attorney-Client Contract   —  When AL is contacted by a prospective client
                    about representation, AL sends a proposed Attorney-Client Contract to the
                    prospective client.
                b. Attorney Referral Agreement When AL is contacted by another attorney
                                                   —




                    regarding representation of a client, AL sends a proposed Attorney Referral
                    Agreement to the attorney.

     5)     Casey Thonn (“Thonn”) is a commercial fisherman that suffered losses as a result of
            the Oil Spill. AL filed five claims on his behalf. To date, Thonn has received three
            settlement checks A VoO settlement check in the amount of $49,400.00, A Seafood
                               -




            Vessel Owner settlement check in the amount of $166,652.10 and Boat Captain
            settlement check in the amount of $190,350.25      — a total of $406,402.35. To my
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               knowledge, the Thonn claims were processed in the regular course of business and in
               a normal manner according to the applicable DWHCC procedures, Policies and
               Appellate decisions. Thonn was awarded and paid less settlement funds on both his
               Boat Captain Claim and his Vessel Owner claim than the sums requested in the initial
               DWHCC filings.

         6)    I was interviewed by the Freeh Group Investigative Team (“Investigators”) on August
               7, 2013. My understanding of the Report of Special Master Louis J. Freeh, dated
               September 6, 20131 (“Report”) is that any references therein to statements made by
               me are taken from the notes of the Freeh Group Investigative Team related to my
               interview (“Interview Report”), a copy of which was provided pursuant to an Order of
               the Court
                   2 as bates range SM-01-TALF-00386-003 88. That document states:
                    “The notes are not intended as a verbatim franscription of the meeting, but
                   rather as a summaiy ofmajor matters discussed. Quotes reflect an effort to
                   capture exact words or phrases used during the meeting but are not
                   intended as a verbatim transcription. These notes also contain mental
                   impressions and observations and relay how the discussion during the
                   meeting may impact other open legal issues for the Special Master
                   Investigative Team. These notes also may be shared with the members of
                   the Special Master Investigative Team to aid in execution of their functions
                   and responsibilities, and as such are a communication between legal
                   counsel and client. These notes are privileged as both an attorney-client
                   communication and as attorney work product.”

               As such, it is necessary to clarify certain misconceptions reflected in the Interview
               Report.

        7)     I had an initial conversation with a Ms. Christine Reitano (“Reitano”) by telephone in
               which she indicated to me that she was sending to AL a DWHCC claim that of a—




               commercial shrimper named Casey Thorin. During this call, Reitano inquired of me
               whether our firm would honor and maintain the Attorney-Client Contract percentage
               of 20%, to which she and Mr. Thonn had previously agreed. I confirmed that AL
               would certainly honor that Attorney-Client Contract percentage.

         8)    The only sum mentioned in our conversation was that of the 20% Attorney-Client
               Contract. At no time during this conversation did we discuss an Attorney Referral
               Agreement. After that call in the regular course of business, after contacting Jonathan
               Andry, I sent to Reitano a proposed, unsigned Attorney Referral Agreement.



    [Ree. Doe. 11287]
2
    [Ree. Doe. 11442]
    See Exhibit A
                                                    2
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       9)     There is a discrepancy in the Report regarding my interview. The Report states “but
              that Ms. Reitano also requested a referral fee.”
                                                         4
              Explanation: Reitano did not request a referral fee from me during this call or during
              any other calls which I had with her.
       10) There is a discrepancy in the Report regarding my interview. The Report states: “Ms.
           Mancuso also stated that Ms. Reitano asked AndryLerner honor the percentage
           referralfee (italics added) that was contained in the Thonn disc” as described to the
           Freeh Investigators.
              However, the interview Report indicates: “Ms. Mancuso said that Ms. Reitano
              requested she have Andry Lerner honor the attorney percentage [italics added], for
              Ms. Reitano in the Thonn contract, as set forth as a fee agreement in that contract.”
             It was my understanding that Ms. Reitano asked me if Andry Lemer would honor the
             Attorney-Client Contract percentage fee. To my knowledge there was not then, and
             there is not today, any Attorney Referral Agreement on the Reitano/Thonn disc, only
             the Attorney-Client Contracts that is contracts between attorneys Smith Stagg and
                                            -



             Casey Thonn and attorney Reitano and Casey Thonn.
       11) There is an ambiguity in the Interview Report which states: “requested she (Mancuso)
           have AndryLerner honor the attorney percentage, for Ms. Reitano, in the Thonn
           contract, as setforth as afee agreement in that contract (italics added).”
                                                                             6
             The wording is clear up to “Thonn contract”. The wording of “as set forth as a fee
             agreement in that contract” I believe references the Attorney-Client Contract, not an
             Attorney Referral Agreement.
       12) The Interview Report states: “Ms. Mancuso recalled that she sent Ms. Reitano an
           attorney referral contract packet.”
                                      7
             Explanation: I sent Ms. Reitano an Attorney Referral Agreement. I did not send her
             a “contract packet.”
       13) The Interview Report states: “Ms. Mancuso also recalled that she sent an Andry
           Lerner claimant attorney referral contract to Mr. Thonn with the same percentage
           requested by Ms. Reitano.”
                            8
             Explanation: I recall that I sent an Andry Lerner claimant Attorney-Client Contract
             to Mr. Thonn with the same percentage requested by Ms. Reitano.


  Report Page 26, 3’ Paragraph
  Report Page 26, 4
                  th
                     Paragraph
  Interview Report Page 2, line 2
  Interview Report Page 2, lines 2 & 3
8
  Interview Report Page 2, lines 3 & 4
                                                 3
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       14) The Interview Report reads: “Ms. Mancuso was unaware if Ms. Reitano ever returned
           the signed referral contract [Italics added] .“

             Explanation: I have no present knowledge if Ms. Reitano ever returned an executed
             Attorney Referral Agreement. However, the Attorney-Client Contract signed by
             Thonn was received by AL.
       15) The Report states: “Ms. Mancuso remembered communications with Ms. Reitano
           about the referral and the fee.”°
             Explanation: I only recall discussing with Ms. Reitano the Attorney-Client Contract
             and the exchange of client information to process the claims.
       16) Reitano did provide information along with a CD disc containing numerous
           documents and client information to AL. Reitano worked on the Thonn claim with the
           Gulf Coast Claim Facility and AL relied on this work and information and it was
           validated in the subsequent meetings and contact with Thonn.
       17) In my interview I explained the standard option in the Settlement Agreement in
           conjunction with the DWHCC Policies which permit a Claimant to use the annual
           Tax Return income to confirm commercial fishing income as opposed to the use of
           trip tickets, as stated in DWHCC Policy No. 26211:
                  “Documents that Allocate Benchmark Period Revenues by Vessel, Landing,
                  and Catch Type. UPDATE: The Claims Administrator modj/Ied these rules
                 further and issued thefollowing revised policy in the 10/8/12 Memo to the
                 Parties after the 10/1/12 Panel hearing:
                 On any claim in the Seafood Program where the Claims Administrator is
                 required to allocate the claimant’s Benchmark Period revenue by catch
                 type, vessel and landing location, interpreting and applying the language in
                 Exhibit 10 that the claimant must provide ‘sufficient infornation” for the
                 Claims Administrator to make such allocation, the Claims Administrator
                 will use the information available on the claim in the following hierarchy
                 ofprooj; as sufficient to satisfy the proof requirements ofExhibit 10 to the
                 Settlement Agreement:
                 (a) Single Catch/Single Vessel Claimants: If the claimant has submitted
                 tax returns with supporting documents for the Benchmark Period and the
                 Claims Administrator can determine from the Claim Form or other
                 information available on the claim that the claimant is submitting a claim
                for only one vessel and one catch type:
                 (1) The Claims Administrator will allocate the revenues from the
                 claimant’s tax returns to the one type of catch asserted on the Claim
                Form, subject to the following,
                 (2) The revenues shall be limited to those shown in the applicable tax
                returns
                 (3,) The claims Administrator will not enter or compute all information
                regarding trip tickets or their equivalentfor the claimant, but will survey the

  Interview Report Page 2
‘°Report Page 25
‘
   See Exhibit B
                                                  4
     Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 6 of 63



                   documents available on the claim to note information that conflicts with the
                   allocation assertions in the Claim Form. Ifsuch conflict arises, the Claims
                  Administrator will notfj’ the claimant to resolve the issue or take such other
                   steps as are necessary to determine the correct allocation on the claim.
                   (b) SWS-1 Claimants: If the claimant is not subject to Subsection (a) and
                   has submitted a signed Sworn Written Statement (SWS-J) to allocate the
                   claimant’s Benchmark Period revenues shown in tax returns:
                   (1) Ifthe claimant luis indicated in the SWS-1 that the Claims Administrator
                   may rely only on the SWS-J for such allocation:
                   a) The Claims Administrator will rely upon the SWS-1 allocation and will
                   not consider frip tickets or other documents for that purpose, subject to the
                  following.
                   b) The revenues shall be limited to those shown in the applicable tax
                   returns.
                   c) The Claims Administrator will not enter or compute all information
                   regarding frip tickets or their equivalentfor the claimant, but will survey the
                   documents available on the claim to note information that conflicts with the
                   assertions in the SWS-1. If such conflict arises, the Claims Administrator
                   will notl) the claimant to resolve the issue or take such other steps as are
                   necessary to determine the correct allocation on the claim.
                   (2) Ifthe claimant has indicated in the SWS-1 that the Claims Administrator
                   is to use the claimant’s trip ticket allocations f they result in a higher award
                   than the SWS-1 allocation:
                   a) The Claims Administrator will determine the claimant ‘s trz ticket
                   allocation under Subsections (c) or (d) below and will compare the resulting
                  award to that determined using the SWS-] allocation. The Claims
                  Administrator will base the resulting Eligibility Notice on the higher award
                  b) If the award is based upon the SWS-1 allocation, the revenues shall be
                  limited to those shown in the applicable tax returns.”
         18) From my work I know that the Louisiana Department of Wildlife and Fi$ieries
             (“LDWF”) Trip Tickets Database is not always an accurate source of complete
             information on the landings of commercial fishermen, mainly due to human error in
             data entry, as well as the failure to submit trip tickets.’
                                                               2 From my work I know trip
             tickets are used generally by the State for conservation, regulation, and the review of
             the gear and area specific catch information that will improve the accuracy of stock
             assessments from the Louisiana waters which aid the LDWF to oversee fishing limits,
             fishing boundaries, management of public waters, and regulation enforcement.

         19) The Thonn Expert Economic Report filed with the Boat Captain Claim indicated that
             the settlement sum should be in the amount of $259,459.00. An initial Eligibility
             Notice was issued in the amount of amount of $885.58.

        20) Pursuant to the Settlement Agreement, the DWHCC has an affirmative duty to
            provide the claimant with the highest possible settlement value from the submitted
            :
            3
            documents’

                    “The Claims Administration Vendors shall evaluate and process the
                   information in the completed Claim Form and all supporting

12
     See Exhibit C, DWHCC Policy No. 404
13
     Settlement Agreement (Section 4.3.8)
                                                    5
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                 documentation under the terms in the Economic Damage Claim Process to
                 produce the greatest ECONOMIC DAMAGE COMPENSATION
                 AMOUNT that such information and supporting documentation allows
                 under the terms ofthe ECONOMIC DAMAGE CLAIM FRAMEWORK”
       21) Per my conversation with our DWHCC firm liaison it was my understanding
           that DWHCC does often initially issue an Eligibility Notice using trip tickets as the
           basis of calculation due to the software of the DWHCC computer. An AL attorney in
           fact sent an email dated January 22, 2013 to the firm liaison inquiring as to why the
           DWHCC often initially uses trip tickets in calculating loss instead of using the
           submitted documents which request the use of Tax Returns.
                                                              14

       22) Per the terms of the Settlement Agreement and Policies, AL filed a Request for
           Reconsideration, requesting the DWHCC to use Tax Returns instead of trip tickets in
           the DWHCC calculation. A Post-Reconsideration Eligibility Notice was then issued
           for $189,647.64 per terms of the Settlement Agreement. Upon review, it was
           determined that the Eligibility Notice sum was incorrect in that the DWHCC should
           not have deducted Shrimp Cost Percentage from his Boat Captain claim in the
           calculation loss, that such a deduction in the loss calculation is only done on the
           Vessel Owner claim per the terms of the Settlement Agreement. On this good faith
           basis, AL then filed an Appeal on this Eligibility Notice due to the manner in which
           the Settlement Agreement was written regarding the Shrimp Cost Percentage
           deduction, and requested the amount of $648,648.00 per the language in the
           Settlement Agreement and DWHCC Policies as of that date. Please see Settlement
           Agreement Shrimp Compensation Plan’
                                             5 which states:

                  “If the Claimant is a Boat Captain and Benchmark Revenue was calculated
                 based upon his earnings, such as from tax return or financial information,
                 then no Shrimp Cost Percentage is applied skzp to step 5.”

       23)   AL filed the Appeal due to “error calculation”, “error in reviewing submitted
             documentation” and “error in Prior Payment Offer.”
                                                          6 The filing of this Appeal then
             opened up to BP the entire DWHCC claim file to oversight review by an appellant
             Judge with the possibility of such Appeal eventually going to Judge Barbier.

       24)   The Thonn appeal documents received by AL show that BP’s Initial Proposal
             Regarding Claim No. l969l’ attached a copy of Thonn’s 2009 Tax Return and
             Economic Expert Report BP and states on Page 1:
                 “BP agrees with the Settlement Programs calculation of Claimant ‘s
                 Compensation Amount. BP therefore, submits an Initial Proposal
14
   See Exhibit D
   [Rec. Doc. 6430-22]
16
   See Exhibit B, Coastal Claims Group Letter, Dated January 7, 2013
17
   See Exhibit F
                                                        6
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                     Compensation Amount $2Z 932.00, the amount Claimant is entitled to
                     according to the terms of the Settlement Agreement Seafood Compensation
                     Framework”
        25) AL also received BP’s Final Proposal filed Feb 4, 201218 which states:
                      “As BP explained in its Initial Proposal, the Settlement program correctly
                     calculated both Claimant’s Compensation Amount and the Claimant’s prior
                     payment offset” and “BP, therefore, submits a Final Proposal
                     Compensation Amount of $2Z 932.00 and Final Proposal Prior Offset
                     Payment of$72,500.00.”
       26) The Notice of Appeal Panel Decision was issued March 28, 2013’ which awarded
           claimant $189,189.00, the amount of BP’s Final Proposal. The Appeal Panel stated:

                     “The Appeal Panel’s decision will stand as the Settlement Program s final
                     determination on this claim.”
               The Appeal and the appeal fee were lost by Thonn. The Post-Appeal Eligibility
               Notice was issued on April 9, 2013. BP did not seek judicial review of the Appellate
               Panel’s decision which is permitted under the terms of the DWHCC Appeal process.
               In fact, during the Appeal process, a new DWHCC Policy, No. 342, had been issued
               on February 8, 2013, which interpreted and clarified the Agreement as written and
               addressed this very issue of shrimp cost percentage deduction for an individual who is
               both a Vessel Owner and a Boat Captain.
                                                 20
       27) The Thonn Expert Economic Report indicated that the Vessel Owner Claim should be
           $327,272. A DWHCC Eligibility Notice for Thonn’s Vessel Owner Claim was
           issued in the amount of $864.78. Per the terms of the Settlement Agreement, AL
           filed a Request for Reconsideration, requesting the DWHCC to use Tax Returns
           instead of trip tickets in the claim calculation. The Post-Reconsideration Eligibility
           Notice was then issued for $238,636 ($166,136.13 after the offset of prior seafood
           payments). However, the Notice inadvertently omitted accounting fee reimbursement
           pursuant to the Settlement Agreement. Upon review, it was determined that the
           Eligibility Notice sum was correct in that the Thonn Vessel Owner Economic Expert
           Report was in error, as the calculations omitted to subfract the Shrimp Cost
           Percentage in the loss calculation. AL then filed an Appeal on this Post-
           Reconsideration Eligibility Notice to obtain the allowed reimbursement for
           accounting fees only, pursuant to the terms of the Settlement Agreement.

       28) The filing of the Appeal opened up to BP the claim file on this claim. Working
           through our DWHCC firm liaison, pursuant to DWHCC procedure, the issue was
           resolved, the accounting fees reimbursement was added to the Claim and a Post

   See Exhibit 0
   See Exhibit 1-I
20
   See Exhibit I
                                                    7
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               Reconsideration Eligibility Notice dated January 28, 2013 was issued listing $515.97
               as reimbursement for accounting fees. AL then withdrew the Appeal.

        29) The suggestion that the chart shown in the Report on Page 60 reflects “suspicious and
            fraudulent characteristics” is misleading, as the Chart simply reflects that the claims
            were processed according to the Settlement Agreement and the DWHCC process and
            Policies. The Settlement Agreement and the DWHCC Policies provide for and allow
            a commercial fisherman to request the use of Tax Returns instead of trip tickets to
            calculate loss.
                      ’
                      2
        30) The Report states on Page 58 the title “Unsubstantiated Increases in the Value of Mr.
            Thonn’s Claim...”
               Mr. Thonn’s Federal Internal Revenue filings for 2009 and 2010 do substantiate his
               income for those years in accordance with the Settlement Agreement and approved
               DWHCC Policies.
                        22

        31) I have met with claimant Thonn and spoken with him on numerous occasions. I
            reviewed the documents he provided to Reitano. In working with him, my
            impression of his character is that of a diligent and hard-working individual.

        32) At no time during the course of filing claims with the DWHCC was I told, it was
            implied, suggested or intimated that any claims filed by AL would receive special
            attention or treatment or would be treated in any other manner other than through the
            known DWHCC claim procedure process. No individual or entity requested me to
            perform any kind of action in the processing and filing of Thonn’s claims which was
            outside of the usual DWHCC claim processing procedure.

         33) Exact claim status information can be obtained on the firm’s filed claims as well as
             unfiled but registered claims on the DWHCC Website, the various reports, claim
             files, Notices, definitions and claim filing summaries which are available for view
             and are reached through the attorney portal for AL permits AL to keep current on the
             following:
               a) The number of claims filed on behalf of what number of claimants
               b) The number of claims which have submitted a signed claim form.
               c) The number of claimants who have started a Registration Form but did not
               complete it, completed a Registration Form and filed a claim and completed a
               Registration Form but have not completed the claim form.
               d) Which claims have Eligibility Notices and the amounts.
               e) The number of offers and amounts which have been accepted, paid and how many
               are pending payment.
               f) The number of claims in accounting.


21
     See Exhibit B
22
     See Exhibit B
                                                   8
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                 g) The number of claims which are eligible but no payment is waffanted due to prior
                 Oil Spill payment(s).
                 h) The claims which are designated Incomplete, those designated Incomplete and
                 waiting for a Response, those claim designated Incomplete in which a Response has
                 been sent and is again in Review.
                 i) The number of claims in which Responses have been sent but not yet processed.
                 j) The number of claims which have been excluded from the Class, closed,
                 withdrawn, on appeal and / or denied.
                 k) The number of claims which are still In Claim Review and In Claims Review but
                 with no Notice yet issued.
                 1) The overall statistics of the submissions to the DWHCC.
          34)    Status Reports filed routinely by DWHCC Claims Administrator Patrick Juneau in
                 the Multi-District Litigation also help in monitoring the flow of claims by the
                 DWHCC in order to compare firm filings to the filings submitted to the DWHCC.
                                                                                        23
          35) The type of information contained in the email dated May 9, 2013, between Lionel
              Sutton and Glen Lerner, which I was only recently shown, is made available to any
              firm filing DWHCC claims through the Attorney Claim Portal website’s Reporting
              tab and other sources as described in Paragraphs 33 and 34, above.
                                                                          24

 SWORN TO AND SIGNED below before me, Notary Public, after reading the whole, on
i’4 )3       2013, in the jurisdiction mentioned above.
                          ,




                                                          AFFIT:
                                                                           A

                                                          CHRIS INA               US(



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 Witness                                                                Name: fiL9tP!!fl&, øouisiarr
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                                             4                   Notary No /r)                    ic for tfr
                                                                 My Commission bxpires: ,i de?q4$




 23
      See Exhibit 3, Claims Administrator Status Report of May 13, 2013
 24
      See Exhibit K, dated May 9, 2013, reflecting AL’s claim portal statistics
                                                             9
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                         Ekepwater Horizon (oirt Supervised Settlement Prograni (“CSSP)
                              Special Master Independent External investigation
                                        lñtteport of Frèeh C5roup

    Interviewee       Christina Mancuso
    Title             Toinc Tort Utigation Attorney
    Office            AndryLerner
    L)ate)Tlrne       August?, 2013 900 AM
    Attendees         Walt Donaldson, Steve ridwelI, bure Kirk, David Courcelle (attorney for Mancuso)
    Locatiom          935 GraIerS., New Orleans, La. .70112

    These notes are prepared as part of an Independent External investigation for the Eastern District CQurt
    of Louisiana IN RE OIL SPiLL BY THE OiL RIG “DEEP WATEI? HOR1ZON IN THE GULF CF MEXICO ONAPRIL
    20,. 2O1O, 10 MD 2179 t”MDU2 179’ Our role as Special Master is limited to performing an
    lndependnt external investigation related to ensuring the Integrity of the CSSP program for the benefit
    of the parties and the public and to perform fact finctlr as to possible ethical violations or other
    misconduct within the CSSP We are also examining and evaluating the internal compliance program
    and anti-corript1on controls wtlhin the C$SP, and making any necessary reconiniendatlons to design and
    to implement athiitiorial such controls, policies predures. and ractlcs to ensure the Integrity of the
    CSSP We do not represent you, Christine Mantuso

    Onthe above date and times, Christina Ma          so was Interviewed In person. We explained that
    information provided in this lntrvTew would become part of the investigation record and could be
    reported to the Distctct Oiirt, thel laintiff Steering Committee, British Petroleum, and          to
    third parties

    Ms. Maricuso was adviserl concerning the need for truthfulness and honesty and was furtheradvised
    concerning the penalties for perjury underTitle 18 USC sectIon 1001 She was further advised that she
    wOuld notbë ádjoumnd as a witness and could be recalled.




    ftegarding the Casey Thorm claim, Ms. Mancuso said that the first time she became Involved wltKthis
    claim based on a teIejhone call from Christine Reitano During the alI, Ms Reitano told Ms Mancusc’
    he was sending two claims on a disc for referral to Aridry Lerner She does not recall if there was
    actually another claim other than Mr. Thonn’s, on the disc. Ms MancosO said that Ms Aeltario

                                                        1


                                                  EXHIBIT

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          OR SOLE USE 0 THE r4sTEl{N LtSTRICT COURT oi LOUISIANA JiVRE; OIL SPILL ff’ E OIL RIG
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           “DEEP WA TEl? II R1ZLW’

                                                            1 for Ms. Reltano, inthe Thonn
    requested she have Andry Lerner honor the attorney percentage
    cántract, as set forth as a fee agreement, In that contract. Ms. Mancuso recalled that she sent Ms.
    Rettano n attorney referral contract packet. She also recalled that shesent an Andry Lernef claimant
    attorney referral contract to Mr. Thonn wtth the same petcentage requested by Ms. Reltano. When
    asked If a contract Is always sera to the claimant, Ms. Manct.rso said that some lawyers do and others do
    not. Ms. Mancuso was unaware If Ms. Reitano ever returned the signed eferrai contract, In the Andry
    Lerner process, that would not be a role she woi.dd handle.




    Ms. Mancuso confirmed again that she had never known or met Mr. Sitton. Regarding Ms. Retano,
    she did recall she bad two or three conversations with Ms. Reitano, generally regarding whether Ms.

                                                       2




                                                                                                       SM-O1 -TALFOO387
Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 13 of 63




           CONFIUENTIAUA1fORNEY-CUENT PRIVILbOED COMMUNICiVI1ONIATFORNIiY WORI( PROVtJCT
           FOR $OLE USE OF TILE EASTERN DISTRiCT COURT OF LOUISIANA IN I& OIL SPILL B 7WE OIL IlG
                EPWflWR JI)RfZO?” IN 77mGuLO.4iErIco ON 4PRIi 2f) 2(flO, 1O-MO-2 179 CMDL-21 79w)

    Reitano had or had not sent the disc with the daims and there were no conversations after that.




                                      _LLII



    *The notes are not intendedas a verbatim trancriptioh of the nieting, but rather as a summary of
    major matters dlscussed Quotes ref Løct an effort to capture exact words or phrases used during the
    meeting but are not intended as a verbatim transcription These notes also contain mental Impressions
    and observations and relay how the discussion during the meeting may impact other open legal Issues
    for the Special Master Investgatlve Team These notes also may be shared with the members o the
    Special Mastei Investigative Team to aid in execution of their functions and responsibilities and as such
    are a communication between legal counsel and client. These notes are privileged as both an attomey
    client communication and as attorney work product.




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                                                                                                        SM-Oi -TALFOO388
                 Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 PageEXHIBIT
                                                                                 14 of 63
              .DEEPWATER HORIZON                                                                                                     -




              CLAIMS CENTER                                                               l
              cOt4ONLC
                     -
                            PROP€RTY DAMAGE
  ---




      •   PoI-262                               CLAIMS ADMINXSTRATORS APPROVED POLICY
                                                            I. Profile   -   EXTERNAL

  Subject                I Documents that Allocate Benchmark Period Revenues by Vessel, Landing, and Catch Type.
 Active Date              10/8/12                  Poli Impact                DAlI Claims Regardless of Active Date
                                                                              ØAII Claims Greater than Active Date

 Type of Decision                                                            Claims Administrator Decision

 Settlement Agreement Reference                                              Exhibit 10

 Affected Claim Types and/or Review Processes                                Seafood

                                                                             Policy 262 supersedes Policy 257 on 10/08/2012
 Superseding Information                                                     Policy 262 supersedes Policy 241 on 10/08/2012
                                                                             Policy 262 supersedes Policy 212 on 10/08/2012

                            .                                    IL Summary
Documents that Allocate Benchmark Period Revenues by Vessel, Landing, and Catch Type. UPDATE: The Claims Administrator
modified these rules further and issued the following revised policy in the 10/8/12 Memo to the Parties after the 10/1/12 Panel hearing:

 On any claim in the Seafood Program where the Claims Administrator is required to allocate the claimant’s Benchmark Period revenue
by catch type, vessel and landing location, interpreting and applying the language in Exhibit 10 that the claimant must provide “sufficient
information” for the Claims Administrator to make such allocation, the Claims Administrator will use the information available on the
claim in the following hierarchy of proof, as sufficient to satisfy the proof requirements of Exhibit 10 to the Settlement Agreement:

 (a) Single Catch/Single Vessel Claimants: If the claimant has submitted tax returns with supporting documents for the Benchmark
 Period and the Claims Administrator can determine from the Claim Form or other information available on the claim that the claimant is
submitting a claim for only one vessel and one catch type:
 (I) The Claims Administrator will allocate the revenues from the claimant’s tax returns to the one type of catch asserted on the Claim
 Form, subject to the following.
(2) The revenues shall be limited to those shown in the applicable tax returns.
(3) The Claims Administrator will not enter or compute all information regarding trip tickets or their equivalent for the claimant, but will
survey the documents available on the claim to note information that conflicts with the allocation assertions in the Claim Form. If such
conflict arises, the Claims Administrator will notify the claimant to resolve the issue or take such other steps as are necessary to
determine the correct allocation on the claim.
(b) SWS-1 Claimants: If the claimant is not subject to Subsection (a) and has submitted a signed Sworn Written Statement (SWS-1) to
allocate the claimant’s Benchmark Period revenues shown in tax returns:
(1) If the claimant has indicated in the SWS-1 that the Claims Administrator may rely only on the SWS-1 for such allocation:
a) The Claims Administrator will rely upon the SWS-1 allocation and will not consider trip tickets or other documents for that purpose,
subject to the following.
b) The revenues shall be limited to those shown in the applicable tax returns.
c) The Claims Administrator will not enter or compute all information regarding trip tickets or their equivalent for the claimant, but will
survey the documents available on the claim to note information that conflicts with the assertions in the SWS-1. If such conflict arises,
the Claims Administrator will notify the claimant to resolve the issue or take such other steps as are necessary to determine the correct
allocation on the claim.
(2) If the claimant has indicated in the SWS-1 that the Claims Administrator is to use the claimant’s trip ticket allocations if they result in
a higher award than the SWS.1 allocation:
a) The Claims Administrator will determine the claimant’s trip ticket allocation under Subsections (c) or (d) below and will compare the
resulting award to that determined using the SWS-1 allocation. The Claims Administrator will base the resulting Eligibility Notice on the
higher award.
b) If the award is based upon the SWS-1 allocation, the revenues shall be limited to those shown in the applicable tax returns.
(c) Louisiana Trip Ticket Database: If the claimant is not subject to Subsections (a) or (b) and the Claims Administrator is able to
determine the claimant’s Benchmark Period revenues using the trip ticket data received by the Claims Administrator from the Louisiana
Department of Wildlife and Fisheries, the Claims Administrator will rely on such data to determine such revenues and their allocation by
vessel and catch type and will not consider trip tickets other document for that purpose. The Claims Administrator will not consider tax
return revenues on such claims.
(d) Specific Trip Tickets or Equivalent: If the Claimant is not subject to Subsections (a), (b) or (c), the Claims Administrator will
determine the claimant’s Benchmark Period revenues and their allocation using trip tickets or their equivalent.
               Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 15 of 63
:           DEEPWAtER HORIZON
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        P01-404                             CLAIMS ADMINISTRATORS APPROVED POLICY
                                                          I. Profile   -   EXTERNAL

Subject               Seafood Program: Handling Errors in Vessel Registration Information Reported in the LDWF Trip Ticket Database

Active Date           8/28/13                  Policy Impact

Type of Decision                                                           Clarified by Seafood Neutral

Settlement Agreement Reference

Affected Claim Types and/or Review Processes                               Seafood

                                                               IL Summary
The Claims Administrator prepared and sent a memorandum to the Seafood Neutral explaining the substance and procedural history of
the announced policy and requesting his opinion on how to resolve the issue. At the Seafood Neutral’s request, the Claims
Administrator then provided the Seafood Neutral with a copy to the Parties certain claims information germane to the issue. After
                                                 —                                —


considering that information alongside the announced policy, the Seafood Neutral advised the Claims Administrator that he agreed with
the proposed approach. Accordingly, after thorough consideration of the Parties’ responses and the Seafood Neutral’s opinion, the
Claims Administrator announces the final policy as originally announced, repeated verbatim below:

In Louisiana, seafood dealers are required to report the seafood they purchase from commercial fishermen to the Louisiana Department
Df Wildlife and Fisheries (“LDWF”). In reporting this sales information, the dealer must identify by registration number the vessel that
landed the catch. A number of claimants have indicated that the seafood dealers to whom they sold their catch entered the wrong
registration number, and, therefore, reported the sale to the LDWF under the wrong vessel. This erroneous reporting creates a
discrepancy in the Claims Administrator’s reviews of the affected Louisiana-based commercial fishermen’s claims in the Seafood
Compensation Program. If a claimant believes that his landings were reported to the LDWF under the wrong vessel and wishes to have
he revenue assodated with those misreported sales considered as part of the claimanrs Seafood Compensation Program claim, the
laimant must submit (1) a sworn written statement describing the discrepancy in detail and (2) sworn written statement from the dealer
Nho incorrectly reported the landings confirming and explaining the dealer’s reporting error.
            Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 16 of• tAJ1HIT
                                                                                   63

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                                                     I    ±
 0
 khrisMacüs

 Subject:                            FW: General Question regarding Eligibility Notices under the Seafood Compensation
                                     Program Trip Tickets v. Income Tax Returns
                                              -




From: Nikeita Ashe [mailto:nashe@dhecc.coml
Sent: Tuesday, January 22, 2013 2:10 PM
To: Kailey LeBoeuf
Cc: Mary Rubio
Subject: RE: General Question regarding Eligibility Notices under the Seafood Compensation Program Trip Tickets v.
                                                                                                             -



Income Tax Returns

Kailey,

I just wanted to inform you that we have implemented a new Re-Review process in addition to Reconsideration.
You may seek a Re-Review if you have additional supporting documentation. I don’t think that is your case
here, but I wanted to inform you of that update for future references. I can seek clarification for you on the use
of Trip Tickets vs. Income Tax Returns, however, without having an actual CII), receiving clarification maybe
difficult. Please let me know how you’d like me to move forward.

Thanks,
Nikeita

From: Kailey LeBoeuf [mailto:KLeboeufandrylawgroup.com]
Sent: Tuesday, January 22, 2013 2:58 PM
To: Nikeita Ashe
Cc: Mary Rubio
Subject: General Question regarding Eligibility Notices under the Seafood Compensation Program        -   Trip Tickets v.
Income Tax Returns                                                                                               -




Niketia,

          I have a question regarding eligibility notices that I would appreciate your input on. My question is limited to
claimants under the seafood compensation program. We have received many eligibility notices from the claims facility
regarding several claimants in which the claims faEility used trip tickets to calculate the claimants loss in lieu of the
claimants Income Tax Return. I understand that we can upload the SWS 1 to request that the claims facility use either
the claimants trip tickets OR income tax returns to calculate the loss. In some of these instances, we have uploaded the
SWS 1 with the claim form (requesting that the claims facility use Income Tax Returns), and the claims facility still uses
trip tickets to calculate the loss. In other circumstances, we may have not uploaded a SWS 1 requesting that the facility
use Income Tax Returns tO calculate a loss, and the claims facility uses the trip tickets to calculate the loss.

          ALL of the claimants that I am referring to would have received eligibility notices in a higher amount if the claims
facility would have used Income Tax Returns. This is despite the fact that we have either uploaded the SWS 1 requesting
that the facility use Income Tax Returns and despite the fact that Section 4.3:8 provides that the claims administrator
shall process the information completed to produce the greatest economic damage compensation amount.

          The problem that this causes is that we have to request for reconsideration to request that the claims facility
use Income Tax Returns (which should have been done anyway considering the SWS 1 and/or Section 4.3.8). 1. This
really holds up the entire process. 2. We then receive a post reconsideration eligibility notice and sometimes the
amount is still incorrect. 3. This means we now have to appeal, which causes even more delays and involves paying fees.


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                                                                                                         pened to, but
                                                                                                         9
this ha definitelj bengoig oñ.is the’ahy ày ou can look infothi for me? aAny sisfahc would begieay
appreciated. Thank you for your time.

Sincerely,

Kailey

Kailey L. LeBoeufEsq.
Andry Lerner, L.L.C.
610 Baronne Street
New Orleans, Louisiana 70113
Telephone: 504-525-5535
Facsimile: 504-586-8933
E-Mail: kleboeuf@andrylawgroup.com


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Kailey L. LeBoeufEsq.
Andry Lerner, L.L.C.
610 Baronne Street
New Orleans, Louisiana 70113
Telephone: 504-525-5535
Facsimile: 504-586-8933
E-Mail: ldeboeuf@andrvlawgroup.com


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                                                                                 800 Mariner’s Plaza Drive, Ste. 821


                    il—CiaiU
                                                    January 7, 2013


         Jonathan B. Andry, Bsq.
         Andry Lerner, LLC
         610 Baronne Street
         New Orleans, LA 70113

                  Re:    Casey Thonn, Claimant ID No. 100051739
                         Boat Captain Claim II) No. 19691

         Dear Mr. Andry:

                  Per your request, we have reviewed the Post-Reconsideration Bligibility Notice for the

         above referenced claim. We have found that the Claims Center has incorrectly calculated this

         loss for the following reasons:

         1.    The adjuster incorrectly calculated a Shrimp Cost Percentage resulting in a lower Base Loss

              even though this claim       was based on Tax Return information, as per the Settlement

              Agreement (relevant Pages Attached for your review).

        2. They also incorrectly calculated the Base Compensation for this claim as the Base

              Compensation was supposed to equal the Base Loss.

              I have attached our revised calculations based upon the terms of the Settlement Agreement.

        Mr. Thonn?s Boat Captain Claim should have results in a Final Compensation Amount of

        $648,648. If you have any additional questions, please let me know.

              With kindest personal regards, I remain

                                                             Very truly yours,

                                                             Leslie M. Butler

                                                             Leslie M. Butler
                                                             Director of Operations
        /lbt
        Encloure
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          Historical Shrimp.. Casey Thonn
              ClaImant ID No. 100051739, Claim No. 19691                                 Vessel Owner/                                   Key
                                                                                           Commercial                                            Enter Raw Data
                                                            Additional       shrimp     Fisherman Vessel    Beat                                 Selected Data
                                                              Catch           Cost           Lessee        Captain
                                Vessel Size                   Factor       Percentage        Share          Share

             <30 feet
             30-44feet
             45-74 feet (Ice)
             45-74 feet (Freezer)
             75+ feet (Ice)
             75+ feet (Freezer)

             RTP                                                                                   825        725




                                                                                                  2
                                                                                               156 000                                            156,000
                                                           Averages                                                  Averages
                                                           2007-2009   2008-2009                  2009               2007-2009   2008-2009           2009
                                                               156,000     156,000             156,000                   156,000    156,000       156,000

           1 Gross Revenue Benchmark Period                   156,000 a                                                     156000 a

             Additional Catch Factor                 -            1.20—                                                         1.20            Based on vessel size
                                                                                                                                                from above
           2 Additional Catch Adjusted                        187,200 5
                                                                      ca
                                                                      ’ b                                                   187,200 c=ab

             Adjustment for change In prIces 10-11                 1.2 d                                                         1.2 d          For all size vessels

           3 Total adjusted Benchmark Revenue                 224,640 ec*d                                                  224,640 e=c*d

           4 Benchmark shrimp cost                             60,840                                                SKIP

           5 Base Shrimp Loss                                  57,330 g(ef)*.3S                                              78,624 f=e.35

           6 Base compensatIon                                 22,932 i                                                      78,624 g=f

            RTP                                                  7.25 I                                                        7.25 h

          7 Final compensation                                189,189 jh+(hl)                                               648,648 l=g+(g’h)




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                          3.        Calculate Total Adjusted Benchmark Shrimp Revenue by multiplying the
                                   Additional Catch Adjusted Benchmark Shrimp Revenue by 1.2, the
                                   Adjustment for Changes in 2010-il Prices.
              Total Adjusted Benchmark Shrimp Revenue = (Additional Catch Adjusted Benchmark. Shrimp
                                 Revenue * Adjustment for Changes In 2010-il Prices).

                          4.      If (i) the Claimant is a Vessel Owner/Commercial Fisherman Vessel
                                  Lessee or (ii) the Claimant is a Boat Captain and Benchmark Revenue was
                                  calculated using trip tickets or their equivalents, calculate Benchmark
                                  Shrimp Cost. Benchmark Shrimp Cost is calculated by multiplying
                                  eacbmark Shrimp Revenue by the Shrimp Cost Percentage. The Shrithp
                                  Cost Percentage, presented in Table 12, is expressed as a percentage of
                                  revenue and reflects standard industry non-labor variable costs. If the
                               ‘ Claimant is a Boat Captain and Benchmark Revenue was calculated based
                               .) upon his earnings, such as from tax return or financial information, then

                               C  no Shrimp Cost Percentage is applied, skip to step 5.

                               Shrimp Cost     (Benchmark Shrimp Revenue * Shrimp Cost Percentage)
                LBenchmark
                                                         TABLE 12

                                        VESSEL SIZE                   SHRIMP COST
                                                                      PERCENTAGE
                                        c3O feet                          42%
                                    •  30-44 feet                         39%
                                     45-74 feet Ice                       39%
                                   45-74 feet Freezer                     42%
                                      75+ feet Ice                        54%
                                    75+ feet Freezer                      52%

                         5.        Calculate the Base Shrimp Loss using the Shrimp Loss Percentage of
                                   35%.

                                   a.      If (I) the Claimant is a Vessel Owiaer/Comniercial Fisherman
                                           Vessel Lessee or (Ii) the Claimant is a Boat Captain and Total
                                           Adjusted Benchmark Shrimp Revenue was calculated using trip
                                           tickets or their equivalents, the Base Loss is calculated as follows:

                   Base Shrimp Loss = (Total Adjusted Benchmark Shrimp Revenue Benchmark Shrimp
                                                                                         —




                                                   Cost)*35%




                                                            22
                                                                                                          029320




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                                  b.     If the Claimant is a Boat Captain and Total Adjusted Benchmark
                                         Shrimp Revenue was calculated using a different source than trip
                                         tickets or their equivalents, the Base Loss is calculated as follows:

                          Base Shrimp Loss = Total Adjusted Benchmark Shrimp Revenue * 35%

                            6.    Determine Base Compensation by multiplying Base Shrimp Loss by the
                                  appropriate Vessel Owner/Commercial Fisherman Vessel Lessee or Boat
                                  Captain share. Vessel Owner arid Boat Captain shares differ by boat size
                                  and te and are presented in Table 13.
                                  a.     Base Compensation for Vessel Owners/Commercial Fisherman
                                         Vessel Lessees is calculated as:

                             Base Compensation = Base Shrimp Loss * Shrimp Vessel Share

                                  b.     Base Compensation for Shrimp Boat Captains is calculated as:

                                         I.     If Shrimp Boat Captain Compensation is calculated based
                                                on trip tickets then the Base Compensation for Shrimp Boat
                                                Captains is calculated as:

                          Base Compensation = Base Shrimp Loss * Shrimp Boat Captain Share

                                         IL     If Shrimp Boat Captain Compensation is calculated basd
                                                on tax returns and financial records, then the Base
                                                Compensation for Shrimp. Boat Captains is calculated as:

                                       Base Compensation       Base Shrimp Loss


                                                      TABLE 13

             VESSEL rYPE A
                         ND SIZE
                         3                       SHRIMP VESSEL                 SffiUMP BOAT CAPTAIN
                                              OWNER/COMMERCIAL                         SHARE
                                               FISBERMAN VESSEL
                                                  LESSEE SHARE
                        <30feet                        45%                                  45%
                       30-44 feet                      45%                                  40%
                     45-74 feet Ice                    45%                                  30%
                   45-74feetFreezer                    45%                                  30%
                      75+feetloe                       45%                                  25%
                    75+ feet Freezer                   45%                                  25%




                                                          23
                                                                                                         029321




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CC: “Cantor, Daniel IL” <Oaniel.Cantor@APORTER,COêl>,
‘jandryandry1awgroup corn” <andty@andry1awgroup corn>  .

Subject: BP’s Initial Proposal   —Claim No. 19691     Casey Thonn
                                                           —

Date: Thu, 24 Jan 2013 20:18:56 —0500
To: “DDuval@dheclaims .com” <DDuvaldhec1aims. corn>, “jgoodwin@brc>wn
                                                                      greer .com”
<j goodwin@bxowngreer. corn>,
“ClaimFormsSdeepwaterhorizoneconomicsettlement. corn”
<Claiorms@deepwaterhorizoneconomicsettlement corn> .

From: “Warlick,. Sarah E.” <Sarah.War1ick@aportezco
                                                    m>
Ttansaction Date (UTC): 2013—01—25 01:20:05
Original Requestor: Sarah.Warlick@aporter.com



1r. Duval,

Please find enclosed 89’s Initial Proposal with respect to the appeal
                                                                      ef
claim number 19691  —Casey Thona.

Kind regards,
Sarah

Sarah E. Warlick
Arnold & Porter LLP
555 Twelfth Street, NW
Washington, DC 20004-1206
Telephone: +1 202942,6409
sarah. warlickporter corn<mailto: sarah.warlick@
                        .
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                  BP’S rNtHAL PROPOSAL REGARDINCI CLAIM NO. 19691

                                        INTRODUCTION

        BP Exploration & Production Inc. (“BP”) respectfully submits this Memorandum in

 Support of Its Initial Proposal with regard to the appeal of Claim No. 19691 (Claimant Casey

 Thonn). The Settlement Program issued its original Eligibility Notice awarding the Claimant a

 Compensation Amount of $83.10 on November 620 1 & Following the Claimant’s Request for

 Reconsideration, the Settlement Program revised its calculation and issued a Compensation

 Amount of $22,932.00. The Claimant then filed this Appeal on January 7, 2013.

         In his appeal, Claimant argues that (1) the Settlement Program incorrectly applied the

 Seafood Compensation Framework’s Shrimp Compensation formula, (2) the Settlement Program

 deducted Claimant’s prior seafood-related payment twice, and (3) the Settlement Program did

  not accurately calculate the Claimant’s Accounting Support Reimbursement.

         The Settlement Program properly calculated Claimant’s Award Amount. B?, therefore,

  submits an Initial Proposal Compensation Amount of $22,932.00 and Initial Proposal Prior

  Payment Offset of $72,500, Although B? agrees that the Settlement Program miscalculated the

  Claimant’s Accounting Support Reimbursement, the Claimant is only entitled to $1,000, not the

  more than $10,000 it is requesting.

                               EXPLANATION OF BP’s POSITION

         The claim at issue is a Seafood Program shrimp boat captain claim for the vessel Boss

  floss (Hull ID LAZ62I 1 lB 101). This claim is governed by the Seafood Compensation

  Framework’s Shrimp Compensation Plan (the “Plan”). Settlement Agreement, Exhibit 10.

  A.     The Settlement Proaram Correctly Calculated Claimant’s Compensation Amount




                                                  I
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          The Plan requires a vessel owner seeking compensatioii under the Historical Revenue

 Methods like this Claimant, to provide evidence to demonstrate his or her commercial shrimping

 revenue during the selected Benchmark Period. Settlement Agreement, Ex. 10 at 18-19. The

 Settlement Agreement is clear that a claimant must substantiate its claimed losses by submitting,

 among other things, (a) ‘[t]rip tickets or their equivalents” or (b) “[fjederal or state tax and

 financial information. . to identify components ofgross revenue derived from commercial
                          .




 shrimp harvesting by vessel for the Benchmark Period for each vessel for which the Claimant

 submits” a claim. id at 19. The Settlement Program uses this financial data to determine the

 claimant’s Benchmark Shrimp Revenue, which is the basis fr determining the Claimant’s

 claimed losses resulting from the Spill. Id. at 21.

          The Benchmark Shrimp Revenue can be based on either a Claimant’s gross revenue or a

 C’aimant’s earnings. According to the Plan, ‘[t]he Claims Administrator may determine the

 gross vsse1 revenue or Boat Captain earnings from shrimp landings in the Gulf Coast areas

 based on the Claimant’s tax returns.,.,” Id (emphasis added). The Benchmark Revenue figure

 is then inputted into a formula to arrive at a Total Adjusted Benchmark Shrimp Revenue. Id at

 21-22.

          The Settlement Program must then detennine the amount of costs, if any, to deduct from

 a claimant’s revenue. If the Settlement Program used a claimant’s gross revenue as its

 Benchmark Revenue, then it must calculate a Claimant’s Benchmark Costs. Id. at 22. The

 Shrimp Cost Percentage is used to determine a Claimant’s l3enchmark Shrimp Cost. Id

 Accord!ng to the Plan, the Shrimp Cost Percentage is “expressed as a percentage of revenue and

 reflects standard industry non-labor variable costs.” The resulting Benchmark Shrimp Cost is

 then subtracted from the Claimant’s gross revenue. However, if a claimant’s earnings are used



                                                   2
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  for Benchmark Revenue, the Program does not need calculate or subtract any additio
                                                                                             nal costs.
  Id. This makes economic sense. Gross revenue is a o1aimant’s revenue before any
                                                                                           deductions
  for variable costs are applied. A claimant’s earnings, on the other hand, already
                                                                                        include
  deductions for these costs and do not need to have additional costs subtracted from
                                                                                           them.
          The Claimant is arguing that simply because he is a Boat Captain and he used
                                                                                              tax returns
  for his fInancial data that the Shrimp Cost Percentage should not be used
                                                                                 to calculate and then
  deduct Benchmark Costs for his claim. This is contrary to the plain language
                                                                                     of the Settlement
  Agreement The Settlement Agreement states that the Benchmark Cost calcula
                                                                                       tion shotiki only
  be skipped if, “the Claimant is a Boat Captain and Benchmark Revenue was
                                                                                     calculated based
  upon his earnings, such s from tax return[,sJ or financial inform
                                                                      ation.” Ii (emphasis added).
  Here the Settlement Program used Claimant’s gross revenue of $156,0
                                                                             00, indicated on his 2009
  federal tax return as “Gross receipts,” to calculate Claimant’s
                                                                    Benchmark Revenue. Claimant’s
  2009 Form 1040, Schedule C, attached hereto as Exhibit 1. The Settlem
                                                                                ent Program, therefore,
  properly applied the Shrimp Cost Percentage to Claimant’s Bench
                                                                       mark Revenue to determine
  ad then subtract Claimant’s Benchmark Costs from his gross
                                                                    revenue.’
  B.     The Settlement Proaram Properly Deducted Claimant’s
                                                             Prior Seafood Sill-Re1ated
         Payments

         According to the Seafood Compensation Framework, “[cjom
                                                                          pensation received by an-.
  eligible Claimant under the Seafood Compensation Program
                                                                will be reduced by the amount of
  prior Seafood Spilt-Related Payments....” Settlement Agreem
                                                                    ent, Ex. 10 at 3. In order to apply
  this requirement, the Settlement Agreement instructs that “[t]he
                                                                     Claims Administrator shall
  offset any compensation under the Seafood Compensation
                                                              Program by the total of the Seafood
  ‘The accounting report submitted with Claimant’s origina
                                                           l claim is also in agreement with the
  Settlement Program’s calculation. See Coastal Claims Group
  Exhibit 2.                                                    Report at 8, attached hereto as


                                                  3




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 Spill-Related Payment amount.” id at 85. The Agreement deflnes Seafood Spill-Related

 Payments as “compensation paid to a claimant through the OPA Process, by BP, the GCCF, or

 through the Transition Facility for economic loss claims relating to Seafood.” Id at n. 3.

         In his Appeal, the Claimant asserts that the Settlement Program applied his prior payment

 offset twice. Indeed, the Eligibility Notices for Claimant’s Boat Captain Claim (No. 19691) and

 Vessel Owner Claim (No. 19690) both include a prior payment offset of $72,500. BP agrees that

 this offset should only apply once. BP notes that the Settlement Program has corrected this error

  hi the Claimant’s Post-Reconsideration Eligibility Notice for Claim 19691. According to the

  “Summary of All Eligible Seafood Compensation Program Claims,” the prior payment offset has

  only been applied once.
                    2

  C.     The Claimant is Only Entitled to Accotmting Support Reimbursement of $1 .000

         The Settlement Agreement provides for Accounting Support Reimbursements to

  reimburse claimants for “reasonable and necessary acxounting fees related to Claims

  preparation.” Settlement Agreement § 4,4.13. The calculation of a Claimant’s reimbursement

  depends on whether the Claimant is a business or an individual. Id. at § 4.4,13.7-8, A Business

  Claimant’s reimbursement, “may not exceed 2% of the total Economic Damage Compensation

  Amount (excluding RTP) for business Claims over $50,000 with all other Claims limited to

  $1000.” Id. at 4.4.13.8. A Business Claimant is defined as, “an Entity, or a self-employed

  Natural Person who filed a Form 1040 Schedule C, E or F, which or who is an Economic Class

  Member Claiming Economic Damage allegedly arising out of.. .the Deepwater Horizon

  Incident.” Id. at 38.15.


  lfthe offset of $72,500 has been applied to a prior Award received by the Claimant, 1W agrees
  2
  that it should not be applied here. However, if it has not been applied to any prior Award, BP
  submits that the offset should apply to this claim.


                                                 4
Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 27 of 63




         The Claimant asserts that he is a Business Claimant, because he filed a Form 1040

  Schedule C for his shrimping business. The record evidence indicates that Claimant filed a

  Schedule C and is, therefore, entitled to accounting support reimbursement as a Business

  Claimant. According to the Claimant’s Memorandum in Support of its Appeal, it is seeking

  reimbursement of $10,562.50 in fees for claim preparation work for Claimant’s Boat Captain

  claim. See Coastal Claims Invoice, attached hereto as Exhibit 3. In its Post-Reconsideration

  Eligibility Notice, the Settlement Program identified $1,161.25 in reimbursable fees for this

  claim. As a Business Claimant with a pre-RTP Compensation Amount of less than$50,O00,

  reimbursement is capped at $1,000. Therefore, BP submits that Claimant is eligible for an

  Accounting Support Reimbursement Payment of $1,000.



         In light ofthe above, BP agrees with the Settlement Program’s calcUlation of Claimant’s

  Compensation Amount. BP, therefor subtuits an Initial Proposal Compensation Amount of

  $22,932.00, the amount the Claimant is entitled to according to the terms of the Settlement

  Agreement’s Seafood Compensation Framework. Additionally, B? agrees that Claimant’s Prior

  Seafood Spill-Related Payments should only be deducted once, but without evidence that these

  payments have been deducted from other Claims for which the Program has issued payment. BP

  submits an Initial Proposal Prior Payment Offset of$72,500, Finally, BP submits that Claimant

  is entitled to Accounting Support Reimbursement of$l ,000.




                                                   5
    Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 28 of 63




    Cc “Cantor, .-Danie2. A.” <Daniel. Cantor@APORTER.COM>,
                                                              -

     jandry@andrylawgroup. corn” <j andry@andrylawgrou
                                                       p corn>
    Subject: BP’s ‘inal Proposal      Claim No. 19691
                                   -
                                                      —  Casey Thonri
    Date: Mon, 4 Feb 2013 21:14:54 —0500
    To: “DDuval@dheclaims .com” <DDuval@dheclair .com>
                                                 ns      , “jgoodwin@browngreer .com”
    <j goodwin@brownqreer. corn>,
    “ClaimFormsdeepwatexhorizoneconomicsett1ement, coin”
    <C1aimFormsEdeepwaterhorizoneco&rnicsettlement. corn>
    From: 4’Warlic]c, Sarah E.” <Sarah.Warlick@aporter.com>
    Transaction Date (UrC): 2013—02—05 02:1508
    Original Requester: Sarah .Warlick@aporter corn
                                                .




    Mr. Duva].,

    Please find enclosed E?’s Final Proposal with respec to the
                                                        t       appeal of claim
    number 19691   Casey Thonn.
                    —




    Kind regards,
    Sarah

    Sarah E. Warlick
    Arnold & Porter 1.LP
-   555 Twelfth Street, NW
    Washington, DC 20004—1206
    Telephone: 4-1 202.942.6409
    sarah.warlick@sporter. com<mailto: sarah.warlick@aporter.com>
    www. arnoldporter com<http: /!ww arnoldporter.com>
                        .              .




    U.S. Treasury Circular 230 Notice

    Any U.S. federal tax advice included in this commu
                                                        nication (including any
    attachments) was not intended or written to be
                                                   used, and cannot be used, for
    the purpose of (i) avoiding U.S. federal tax—r
                                                   elated penalties or (ii)
    promoting, marketing or recommending to another party
                                                          any tax-related matter
    addressed herein.



    This communication may contain information
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    confidential or exempt from disclosure. If you are
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    fecipient, please note that any dissemination
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    mail and delete it from his or her compu
                                             ter

    For noe information about Arnold & Porter
                                              LLP, click here
    http://www.arnoldporter.com
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                      BP ‘S FINAL PROPOSAL REGARDING CLAIM NO. 19621

            P Exploration & Production Inc. (“BP”) respeotfolly submits this Memorandum in

  Support of Its Final Proposal with regard to the appeal of Claini No. 19691 by
                                                                                    the Claimant
  (Casey Thorm). The Claimant is appealing that (1) the Settlement Program incorre
                                                                                        ctly applied
  the Seafood Compensation Framework’s Shrimp Compensation formula, (2) the Settlem
                                                                                                ent
  Program deducted Claimant’s prior seafood-related payment twice, and (3) the Settlem
                                                                                            ent
  Program did not accurately calculate the Claimant’s Accounting Support Reimb
                                                                                     ursement.
            As BP explained in its Initial Proposal, the Settlement Program correctly calcula
                                                                                             ted both
  Clalmant’s Compensation Amount and the Claimant’s prior payment offset.
                                                                                  B? also explained
  that it agrees that the Settlement Program miscalculated the Claimant’s Accou
                                                                                    nting Support
  Reimbursement, but that the Claimant is only entitled to $1,000, not the
                                                                             more than $10,000 it is
  requesting. BP, therefore, submits a Final Proposal Compensation Amou
                                                                              nt of $22,932.00 and
  Final Proposal Prior Payment Offet of $72,500.

                                 EXPLANATION OF BP’s POSITION
  A.        The Settlement Program Correctly Calculated Claimant’s Compe
                                                                             nsation Amount
            The claim at issue is a Seafood Program shrimp boat captain claim for
                                                                                    the vessel Boss
  Ross (Hull ID LAZ621 1 IE1O1). This claim is governed by the Seafoo
                                                                           d Compensation
  Framework’s Shrimp Compensation Plan (the 9’lan”). Settlement Agreem
                                                                               ent, Exhibit 10. As
 part of the calculation of a Claimant’s Compensation Amoun
                                                                 t, the Settlement Program must
  determine the amount of costs, if any, to deduct from a claimant’s
                                                                       revenue. If the Settlement
 Program used a claimant’s gross revenue as a claimant’s Bench
                                                                    mark Revenue, then it must
 calculate Benchmark Costs. Id. at 22. The claimant’s Benchmark
                                                                       Revenue is multiplied by a
 Shrimp Cost Percentage to determine a claimant’s Benchmark
                                                                   Shrimp Cost. Id, According to




                                                    I




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Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 30 of 63




  the Plan, the Shrimp Cost Percentage is “expressed
                                                          as a percentage of revenue and reflects
  standard industry non-labor variable costs.” 1d The resulti
                                                                  ng Benchmark Shrimp Cost is then
  subtracted from the Claimant’s gross revenue. However, if a
                                                                    claimant’s earningr are used for
  Benchmark Revenue, the Program does not need to calcula
                                                                 te or subtract any additional costs. JcL
  This makes economic sense. Gross revenue is a claima
                                                             nt’s revenue before any deductions for
  variable costs ae applied. A claimant’s earnings, on the
                                                               other hand, already inchade deductions
  for variable costs and do not need to have additional costs
                                                                 subtracted from them.
            According to the Claimant, however, he should not have any Bench
                                                                                  mark Costs deducted
  from his gross Benchmark Revenue. In his Initial Propos
                                                               al, the Claimant argued that simply
 because he is a Boat Captain and he used tax returns for
                                                              his financial data that the Shrimp Cost
 Percentage should not be used to calculate and then deduct
                                                                 Benchmark Costs from his gross
 revenue. Claimant’s Memorandum in Support of Appea
                                                              l at 1. The Claimant has misinterpreted
 the Settlement Agreement. The Agreement states that
                                                            the Benchmark Cost calculation should
 only be skipped if ‘the Claimant is a Boat Captain
                                                              Benchmark Revenue was calculated
 based upon his earnings, such as from tax return[s] or financi
                                                                   al information.” Id. (emphasis
 added). To be exempt from the Benchmark Cost
                                                       calculation, therefore, a claim must satisfy a
 two-part test: (I) it must be a Boat Captain claim and
                                                           (2) Benchmark Revenue must be based on
 a Claimant’s erniags.

        The Claimant’s Boat Captain claim does not satisfy
                                                                 this test. The Program used
 Claimant’s gross revenue —not its earnings   --   as Claimant’s Benchmark Revenue. Specifically,
 the Settlement Program used Claimant’s 2009
                                                   gross revenue of$1 56,000, indicated on his
 federal tax return as “Gross income.” Claimant’s
                                                       2009 Fsorm 1040, Schedule C, attached to BP
 Initial Proposal as ExhibIt 1. The Settlement Progra
                                                         ni, therefore, properly applied the Shrimp




                                                   2




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Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 31 of 63




  Cost Percentage to Claimant’s Benchmsrk Revenue to determine
                                                                     and then siibtract Claimant’s
  Benchmark Costs from his gross revenue,’

 B.      The Settlement Program Properly Deducted Claimant’s Prior Seafood
                                                                           Spill-Related
         Payments

         According to the Seafood Compensation Framework, “c)ompensatio
                                                                                 n received by an
 eligible Claimant under the Seafood Compensation Program will
                                                                     be reduced by the. amount of
 prior Seafood Spill-Related Payments....” Settlement Agreement,
                                                                      Ex. 10 at 3. Tn order to apply
 this requirement, the Settlement Agreement instructs that “[t)he
                                                                    Claims Administrator shall
 offset any compensation under the Seafood Compensation Progra
                                                                     m by the total of the Seafood
 Spill-Related Payment amount.” 1d at 85. The Agreement
                                                               defines Seafood Spilt-Related
 Payments as “compensation paid to a claimant through the
                                                              OPA Process, by BP, the GCCF, or
 through the Transition Facility for economic less claims relatin
                                                                  g to Seafood.” J.cL at n. 3.
         The Settlement Agreement has only applied the prior payment
                                                                         offset once. Although
 the Eligibility Notices for Claimant’s Boat Captain Claim
                                                             (No. 1969]) and Vessel Owner Claim
 (No. 19690) both include a prior payment offset of $72,500, the Summ
                                                                           aiy of All Eligible
 Seafood Compensation Program Claims” on these Eligibi
                                                            lity Notices only apply the offset once.
 C.     The Claimant is Only Entitled to Accounting Support
                                                                Reimbursement of$ 1.000
        The Settlement Agreement provides for Accounting
                                                              Support Reimbursements to
 reimburse claimants for “reasonable and necessary accoun
                                                             ting fees related to Claims
 pveparation.” Settlement Agreement 4.4.13, A Busine
                                   §                 ss Claimant’s reimbursement, “may not             *




 exceed 2% ofthe total Economic Damage Compensation
                                                           Amount (excluding RTP) for business
 Claims over S50,000 with all other Claims limited
                                                     to $1000.” Id. at 4.4.13.8. A Business
 ‘The accounting report submitted with Claimant’s
                                                   origina
 Settlement Program’s calculation. See Coastal Claims l claim is also in agreement with the
 Proposal as Exhibit 2.                                Group Report at 8, attached to BP Initial




                                                3
Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 32 of 63




 Claimant is defined as, “an Entity, or a self-employed Natural Person who filed a
                                                                                     Form 1040
 Schedule C, E or f, which or who is an Economic Class Member Claiming Econo
                                                                                     mic Damage
 allegedly arising out of. .the Deepwater Horizon Incident.” Id at 38.15.
                                                                  §
        The record evidence indicates that Claimant filed, a Schedule C and is, therefo
                                                                                        re, entitled
 to accounting support reimbursement as a Business Claimant. As a Business Claima
                                                                                       nt with a
 pre-RTP Compensation Amotint of less than $50,000, reimbursement is capped at
                                                                                     $1,000.
 Therefore, BP submits that Claimant is eligible for an Accounting Support Reimb
                                                                                     ursement
 Payment of $1,000.

                                               ***


        In light of the above, BP agrees with the Settlement Program’s calculation of Claimant’s

 Compensation Amount. BP, therefore, submits a Final Proposal Compensation Amou
                                                                                          nt of
 $22,32.00, the amount the Claimant is entitled to according to the terms ofthe Settlem
                                                                                           ent
 Agreement’s Seafood Compensation Framework, Additionally, BP agrees that Claima
                                                                                          nt’s Prior
 Seafood Spill-Related Payments should only be applied once, but without evidence that
                                                                                           this
 offset has been applied to other Claims for which the Program has issued payme
                                                                                  nt, BP submits a
 Final Proposal Prior Payment Offset of $72,500; Finally, BP submits that
                                                                            Claimant is entitled to
 Accounting Support Reimbursement of$ 1,000.




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             DEEPWATR HORIZON
             CLAIMS CENTER
                 POPV OA€ CL.JMS
             CONOMlC &



                                             NOTICE OF APPEAL. PANEL DECISION
                                             DATE OF NOTICE.: March 28, 2013
                                       I. CLAIMANT AND CLAIM INFORMATION
                     Lest/N&ne of Business                  First                      Middle

Claimant Name                                                CASEY
                         ThONN
Claimant ID              100051739                           Claim ID                   19691

Claim Type               Seafood Compensation Program
Law Firm                 Andry Law Group/Aridry Lemer, LLC
Vessel Name                                                  Hull ID


The Economic and Property Damages Settlement Agreement C’Settlement Agreement”) written by Class Counsel
and BP requires the Claims Administrator to designate an Appeals Coordinator to coordinate the Appeals Process.
This Notice is an offidal communication from the Appeals Coordinator and relates to the claim identified in Section
I. BP or the claimant appealed this claim, and the Appeals Coordinator submitted the claim for Appeal Panel
review. The Appeal Panel has completed its review of the Appeal and has reached a final decision on the claim.
The details of the Appeal Panel’s decision are below:
                                                                                            Proposal Chosen
Compensation Amount                                             $189,189.00                         BP
Risk Transfer Premium Multiplier                                    0.00                            BP
Prior Payment Offset                                             $72,500.00                         BP
The Compensation Amount awarded by the Appeal Panel will appear in Section 2, line 1 of your Post-Appeal
Eligibility Notice. We will increase this Compensation Amount by the applicable Risk Transfer Premium, if any, and
also decrease this Compensation Amount by any applicable offsets to determine your Award Amount If this was
a Claimant Appeal of a Post-Reconsideration Eligibility Notice and the datmant prevailed upon appeal, the pre-Risk
Transfer Premium Compensation Amount will be increased by 5%. If we have received notice of any outstanding
lien, we will also deduct that applicable amount from your Award Amount.

The Appeal Panel’s decision will stand as the Settlement Program’s final determination on this claim.
                       UI HOW TO CONTACT US WITH (LIIES11ON5OR FORi1EW
For questions about this Notice of Appeal Panel Decision or the status of your other claim(s), contact the Claimant
Communications Center at 1-800-353-1262 or send an email to Questions@dhecc.com. If you are a law firm or
daims preparation company, you should call or email your designated DWH Contact for help or assistance. You
may also visit a Claimant Assistance Center for help. For a complete list of Claimant Assistance Centers, go to
www.deepwaterhorizoneconomicsetUement..com.




APP-19 v.1                   WWW.DEEPWATERHORIZONECONOMICSE1TLEMENT.C014                        Claimant ID: 100051739
                                                         Page 2 of 3                                   Claim ID: 19691
             Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 34 of 63


                               IV SUMMARY OF OTHER SUB4ITFED CLAIMS
We received one or more additional Claim Forms from you that are not included or addressed in this Notice. This
chart sumiiaizes the status of those claims as of the date of this Notice. You will receive or have already
received separate Notices for each additional claim. You may monitor the status of your other claims by using the
DWH Portal. If you do not use the DWH Portal, contact us by one of the methods listed in Section III of this
Notice to find out the current status of your other claims or use the “Check My Status” feature located on the
homepage of the official Settlement Program website at www.deepwaterliorizoneconomicsettlement.com.
                       Claim Type                  Claim ID                        Claim Status

   L     Seafood Compensation Program                19690                        Payment Received

   2.    VoO Charter Payment                         20741                        Payment Received

   3.    Subsistence                                 97550                      claim Form Submitted




APP-19 v.1                 WWW.DEEPWATERHORIzONECoNoMIc5ErrLEMENT.CoM                      claimant ID: 100051739
I11IUJlifl                                         Page 3 of 3                                    Claim ID: 19691
  Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 35 of 63


  DEE PWATER 110R1ZON
  CLAIMS CENTER
         & PROPERTY t’P4AGE cs



                                               —   2 2U13

DWH0337392288
IIIIUIIIIIIIIIIIHHHIIIIUIIU
CASEY ThONN
CJO: ANDRY LAW GROUP/ANDRY LERNER, LLC
610 BARONNE STREET
NEW ORLEANS, LA 70113
               Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 36 of 63
            DEEPWATEP HORIZON
            CLAINSCENTER
             CCJNOMFC PROPERTY DAt7A c4AlMs           -




        Pol-342
                           I                CLAIMS ADMINISTRATOR’S APPROWD POLICY
                                                          L Profile   EXTERNAL

Subject               Seafood Program: Calculation of Boat Captain Income on Claims by Owner/Operators

Active Date           2/8/13                   Policy Impact
                                                                            ::

Type of Decision                                                      Clarified by Seafood Neutral

Settlement Agreement Reference                                        Exhibit 10

Affected Claim Types and/or Review Processes                          Seafood

                                  .
                                                              IL Summary
Under Exhibit 10, Class Members who owned or leased and captained their own vessel during the qualifying time period have both (1) a
Vessel Owner and (2) a Boat Captain claim in the Seafood Compensation Program. The Historical Revenue Compensation Method,
which is available for all of the Seafood species types, uses revenues in past Benchmark Years to calculate an award amount that
differs by operator type. When a claimant who is both Boat Captain and Vessel Owner/Lessee has submitted a Schedule C to support
the Boat Captain claim, the Claims Administrator will use the gross revenues in Line I of the Schedule C as the revenues in past
Benchmark Years and then will apply the Exhibit 10 Cost Percentage, the Loss Percentage and the Boat Captain share set by Exhibit
10 to derive the number multiplied by the RTP to get the award amount for the claimant on the Boat Captain claim. The Claims
\dministrator will not use Schedule C Line 29 net profits number (or the net profits number shown on any line in other tax forms) on the
Boat Captain claim of a claimant who is both Boat Captain and Vessel Owner/Lessee, for doing so would eliminate the premise for an
award to that claimant on a Vessel Owner/Lessee claim. The Seafood Neutral has informed the Claims Administrator that he agrees
with this policy.
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      (cc 21fl-md-fl217Q-flik-         flnciimFnt Qfl7      rjIH flI1I1         Pinc 1 nf 91
                                       DEEPWATER HORIZON
                                       CLAIMS   CENTER
                                       ECONO.1C
                                             & PROPERTY DAMAGE C1MMS




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig                          MDLNO.2179
       “Deepwater Horizon” in the Gulf
       of Mexico, on April20, 2010                       SECTION J


Applies to: All Cases                                    JUDGE BARRIER
                                                         MAGISTRATE JUDGE SHUSHAN




           REPORT BY THE CLAIMS ADMINISTRATOR OF TIlE DEEPWATER
           HORIZON EcoNoruc AND PRoPERTY DAMAGEs SETTLEMENT
                AGREEMENT ON THE STATUS OF CLAIMS REVIEW




         STATUS REPORT No.         9        DATE                       May 13, 2013
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     Case 2:10-md-02179-CJB-SS Document 9907 Filed 05/13/13 Page 2 of 21
                                             DEEPWATER HORIZON
                                     -
                                             CLAIMS CENTER
                                         -   ECONOf4tC & PRQPERTV DAMAGE Cl.AJMS




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 In re: Oil Spill by the Oil Rig                                 MDL NO. 2179
       “Deepwater Horizon” in the Gulf
        of Mexico, on April 20, 2012                             SECTION J

Applies to: All Cases                                            JUDGE BARBTER
                                                                 MAGISTRATE JUDGE SIIUSHAN

  REPORT BY THE CLAIMS ADMINISTRATOR 01? THE DEEPWATER HORIZON
  ECONOMIC AM) PROPERTY DAMAGES SETTLEMENT AGREEMENT ON THE
                     STATUS OF CLAIMS REVIEW

                        STATUS REPORT NO.9. DATED MAY 13, 2013

       The Claims Administrator of the Deepwater Horizon Economic and Property Settlement

Agreement (the “Settlement Agreement”) submits this Report to inform the Court of the current

status of the implementation of the Settlement Agreement. The Claims Administrator will

provide any other information in addition to this Report as requested by the Court.

           I.      STATUS OF THE CLAIMs REVIEW PRocEssEs ANE) CLAIM PAYMENTs

       A. Claim Submissions.

           1. Registration and Claim Forms.

       The Claims Administrator opened the Settlement Program with needed functions staffed

and operating on June 4, 2012, just over 30 days after the Claims Administrator’s appointment.

We have received 147,920 Registration Forms and 164,758 Claim Forms since the Program

opened, as shown in the Public Statistics for the Deepwater Horizon Economic and Property

Damages Settlement (“Public Report”) attached as Appendix A. Claimants have begun but not

fully completed and submitted 11,866 Claim Forms. The Forms are available online, in hard

copy, or at Claimant Assistance Centers located throughout the Gulf. Of the total Claim Forms

submitted, 14% of claimants tiled in the Seafood Program, 20% filed Individual Economic Loss
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      Case 2:10-md-02179-çJB-SS 0                                            05/13/13 Page 3 of 21
                                         CLAIMS CENTER
                                         ECONOMIC & PROPERTY DAMAGE CLAIMS




(TEL) Claims, and 32% filed Business Economic Loss (BEL) Claims (including Start-up and

Failed BEL Claims). See App. A, Table 2. DWH staff at the Claimant Assistance Centers

assisted in completing 30,119 of these Claim Forms. See App. A, Table 3. The nineteen

Claimant Assistance Centers also provide other forms, including Personal Representative Forms,

Subsistence Interview Forms and Sworn Written Statements and Authorizations.

           2. Minors, Incompetents and Deceased Claimants.

        The table below describes the claims filed on behalf of minors, incompetents and

deceased claimants in the Settlement Program.

                  114 j                 $IH$eits                   CiS
                                    .          .                Incompetent               Deceased
                                 Minor Claimants
                                                                 Claimants               Claimants
                                            Change                    Change                   Chaiige
                                 Total     Since Last         Total Since Last        Total Since ast
                                            Report                    Report                   Report
 1.   Claims Filed                 45          +2              61       +5             224       +16
 2.   Referred to GADL             30          +6              16        0            N/A        N/A
 3.   Eligible for Payment          6          +5              26       +2             93         +8
 4.   Approval Orders Filed         3          +3              21       +3             73        +16

           3. Third Party Claims.

        Court Approved Procedure Order No. 1 (as entered September 9, 2012, and amended

March 11, 2013) (“CAP”) defmes the process by which the Claims Administrator will receive,

process and pay the claims and/or liens asserted by attorneys, creditors, governmental agencies,

or other third parties against the payments to be made by the Claims Administrator to eligible

claimants under the Settlement Agreement (“Third Party Claims”). The Amended CAP

streamlines the enforcement documentation requirements to support a Valid Third Party Claim

and provides that the Court will adopt a Third Party Claim dispute resolution process for attorney

fee liens and Third Party Claims other than those asserted by a state or federal agency. On April



                                                   2
     Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 40 of 63
           Case 2:10-md-02179-CJB-SS D                                   1
                                                                         j d 05/13/13 Page 4 of 21
                                                    CLAIMS CENTER
                                                    ECONOMIC & PROPERTY DANAGE C1AIMS




      9, 2013, the Court appointed Judge Jerry Brown as the Attorney Liens Adjudicator. On April 15,

     2013, the Court approved the Rules Governing the Third Party Claims Dispute Resolution

     Process as to Attorney Fee Liens. We issued Alerts about the Amended Court Approved

     Procedure, Judge Brown’s appointment and the Court’s approval of the Attorney Fee Lien

     Dispute Resolution Rules on April 22, 2013.

               We now require a Third Party Claimant to send us enforcement documentation soon after

     the initial Third Party Claim assertion. We notify the affected Settlement Program claimant

     about an Enforced Third Party Claim against a potential Settlement Payment as soon as we

     receive sufficient documentation, regardless of where the underlying Settlement Program Claim

     is in the review process. The claimant may, but does not have to, object to the Third Party Claim

     at this time. After we send an Eligibility Notice to the affected Settlement Program claimant

     against whom an Enforced Lien has been asserted, we send the claimant/claimant’s attorney and

     the Third Party Claimant a Notice of Valid Third Party Claim and provide the claimant 20 days

     to notify us of any objection to the Third Party Claim. We also updated the Third Party Claims

     Frequently Asked Questions on the DWH Settlement website to explain all of these changes.

               We continue to process and pay Third Party Claims as reflected in Table 2 below.



                                                    TPCs
                                                             TPCs’ Valid TPCs            Claims with
                                                  Asserted                    TPCs Paid?
                                                                                                           .


              Type of                                      .Asserted Asserted            TPCs Paid?
           .                         TPCs          Against                .   Ready for
        Third Party Claim                              .    Against  Against
                                                                                         .

                                                                                          Ready for
                   ,,               Asserted      Claimants                    Payment
             ( TPC )                               With a
                                                            Payable  Payable
                                                                               (CIO
                                                                                          Payment
                                                            Claims   Claims                (Clmt)
                                                  DHCC
1.       Attorney’s Fees              2,340         1,882     325      174       119         279
2.          IRS Levies                 448           422       39      40         29          33
3.     Individual Domestic             257             148             75               59            46                  53


     ‘The streamlined enforcement requirements allow us to assess validity earlier in the process, although we will not
     know if a valid TPC is asserted against a payable claim until the Eligibility Notice goes out.

                                                               3
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                                                 1a1i        Tfrd Pafl 1aims
         Support Obligations
            Blanket State-
          Asserted Multiple
‘                                       4 states           N/A            N/A             N/A           0                   0
          Domestic Support
             Obligations
         3rd Party Lien/Writ
                                          542              233             13              7            4                   3
           of Garnishment
         Claims Preparation/
6                                         831              643             29             10            1                   6
             Accounting
7.              Other                      25               21              1              0            0                   0
                                                                                                                       3742
               TOTAL                     4,443            3,349           482             290         199

                To date, we have removed 1,392 lien holds due to parties releasing their claims or

     resolving disputes.

                B. Claims Review.

                We completed our first reviews and issued our first outcome notices on July 15, 2012,

     and Payments on July 31, 2012. There are many steps involved in reviewing a claim so that it is

     ready for a notice.

                    1. Identity Verification.

                The Tax Identity Number (TIN) Verification review is the first step in the DWH claims

     review process. The table below contains information on the total number of claimants reviewed

     in the Program, the outcome of those reviews, and the percentage of claimants that receive

     Verification Notices after review.




     2
         If the TPC amount is in dispute, we pay the Claimant the undisputed portion of his/her/its Settlement Payment. A
     Third Party Claim can be asserted against one or more Settlement Program Claims.

                                                                  4
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                           TabIe3.
                                                Claimants
                                                           Monthly     Total
                                                Reviewed.                         Total
             .          Outcome                           Percentage Claimants.
                                                Since Lt                        Percentage
                                                                     Reviewed
                                                 Report
 1. Verified During Review                          4,017            84.4%      41,398       78.4%
 2. SSN Notice Issued                                  73             1.5%      2,307        4.4%
 3. ITIN Notice Issued                                 10             .2%        398          .8%
 4. ElNNoticelssued                                    661           13.9%      8,683        16.4%
 5. Total Reviewed                                 4,761             100%       52,786       100%

The table below contains information on the number of TIN Verification Notices issued, how

many have been cured after the claimant responded to the Notice, and the average time to cure in

days.

                               Tàlle 4_IdeniityJncppWenessA4ivity
                    .                 Notices           Number          Percentage   Average Time -to
                 Notice Type
                                      Issued             Cured            Cured       Cure in Days
 1.     SSN Notice                     2,307             1,846             80%             137
 2.     ITIN Notice                     398               334              84%             160
 3.     EIN Notice                     8,683             7,467             86%             80
 4.     Totallssued                    11,388            9,647             85%             125


            2. Employer Verification Review (“EVR”).

         The EVR process ensures that all employees of the same business are treated uniformly

and that each business is placed in the proper Zone. The review also walks through the intricate

analysis necessary to assign the right NAICS code to a business. The EVR team has completed

the EVR analysis for over 150,000 businesses and rental properties.

         From April 11, 2013, through May 10, 2013, the team completed the EVR step for

13,072 businesses and properties. We identified an average of 429 new businesses and

properties to review each day and completed the EVR review for an average of 436 businesses



                                                   5
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 and properties each day. We continue to review new businesses and rental properties on a first-

 in, first-out basis.

             3. Exclusions.

         The Exclusions review process ensures that claims and claimants excluded under the

Settlement Agreement are appropriately denied. The Exclusions team guides the reviewers and

the EVR team when questions arise during the exclusion determination. Table 5 below shows

the number of Denial Notices issued to date for each Exclusion Reason and the team responsible:

                                            Table 5. Fxclusions
                                                                                      Denial
                                                                                              .
                                 .
                         Exclusion Reason                         learn
                                                                      ,
                                                                                 Notices
                                                                                      .


                                                                           .    -..               Denial
                                                                Responsible     Since Last
                                                                                                  Notices
                                                                                                   -




                                                                                  Report
   1.    GCCF Release                                                                 1,313       6,164
   2.    BP/MDL 2179 Defendant                                   Exclusions               13           198
   3.    US District Court for Eastern District of LA                                     0            22
   4.    Not a Member of the Economic Class                                               14           154
   5.    Bodily Injury                                            Claims                  0             2
   6.    BI’ Shareholder                                         Reviewers                0             6
   7.    Transoceanfflalliburton Claim                                                     0            0
   8.    Governmental Entity                                      Claims                  66           611
   9.    Oil and Gas Industry                                    Reviewers!               73           353
  10.    BP-Branded Fuel Entity                                    EVR
                                                                                          3            27
  11.    Menhaden Claim                                                                   1            10
  12.    Financial Institution                                                            30           160
  13.    Gaming Industry                                                                  58       549
  14.    Insurance Industry                                          EVR                  22       116
  15.    Defense Contractor                                                               62       247
  16.    Real Estate Developer                                                            37           39
  17.    Trust, Fund, Financial Vehicle                                                 5           12
  18.    Total Denial Notices from Exclusions                                         1,697       8,670




                                                      6
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             4. Claimant Accounting Support Reviews.

             A special team handies Claimant Accounting Support (“CAS”) reviews. CAS

     reimbursement is available under the Settlement Agreement for TEL, BEL, and Seafood claims.

     After a claim is returned from the Accountants or BrownGreer’s reviewers as payable and the

     Compensation Amount is known, the CAS team reviews accounting invoices and CAS Sworn

     Written Statements. Table 6 includes information on the number of CAS reviews we have

     completed to date, whether the Accounting Support documentation was complete or incomplete,

     and the amounts reimbursed.

                                   Table 6. claimant Accounting Support Reviews
                             CAS Review Result                       ‘Total (‘AS
                                                         -—-
                                                                            .                  CAS S Amount Reimbursed
                       Complete            Inconiplete                Reviews
       Clami                                                                    _.        .




       Type         Since                 Since    Total            Since
                                I otal
                               .



                     Last
                                                                                 1 otal       Since Last
                                          Last      to              Last                                     Total to Date
                              to Date                                           to Date         Report
                    Report               Report    Date            Report
1.    BEL            729       6027        68       590             797          6617     $1,760,236.88     $8,230,892.82
2.    TEL             43           804     19       168              62           972       $9,530.93        $51,897.92
3.    Seafood        214       3182       28        481             242          3663      $144,823.59      $1,137,210.36
4.    TOTAL          986      10,013      115      1,239           1,101        11,252    $1,914,591.40     $9,420,001.10


            5. QA Review.

            The Quality Assurance (“QA”) process addresses three fundamental needs of the

     Settlement Program, which are to: (a) ensure that all claims are reviewed in accordance with the

     policies of the Settlement Agreement by targeting anomalous claims results through data metrics

     analysis; (b) provide a mechanism to monitor reviewer performance and the necessary tools to

     efficiently and effectively provide feedback to reviewers; and (c) identify areas of review

     resulting in high error rates that require retraining or refmed review procedures and data

     validations.



                                                               7
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                 We have implemented a reviewer follow-up process for all claim types. We provide

       daily follow-up to reviewers whose claims resulted in different results after a QA review the day

       before. We also have a report that identifies specific reviewers who require re-training, and

       reveals whether there are issues that warrant refresher training for all reviewers. Table 7 shows,

       by Claim Type, the number of claims identified for QA review through the database QA process,

       as well as how many QA reviews have been completed, how many are in progress, and how

       many are awaiting review.

                                     a1kQua1iurauice%views                                         fr
                         Total Claims      QA                                 QA                      Reviews
                                                                                         Claims
             .
        Claim Type       Needing QA
                                          :.
                                         Reviews
                                                                                   .        ..     Completed
                                                                           Reviews in   Awaiting
                                        Completed        Completed                                 Since Last
                           To Date                                          Progress      QA
                                                                                                    Report
1.     Seafood              19,574       17,554              90%               1,301      719        4,282
2.     IEL                  15,432        9,571              62%                726      5,135       2,050
3.     BEL                  8,783         6,778              77%               406       1,599       1,895
4.     Start-Up BEL          830          624                75%                32        174           128
5.     Failed BEL           1,330         1,201              90%                20        109           101
       Coastal Real
6.                          14,704       14,504              99%                120       80         1,989
       Property
       Real Property
                             626          622                99%                 0         4            24
       Sales
8.     VoO Charter          7,241        7,227              100%                10         4            151
9.     Subsistence          9,271        2,322               25%               155       6,794          752
10.    Wetlands             2,262        2,057               91%                93        112           322
       Vessel
11.    Physical              507          313                62%                 9        185           229
       Damage
12.    TOTAL               80,560        62,773             78%               2,872     14,915      11,923

                    6. Claim Type Review Details.

              Table 8 provides information on the number of claims filed, how many claims have been

      reviewed to Notice, the claims remaining to review, and how many claims were reviewed to



                                                            8
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      either a Notice or “Later Notice” to date, by claim type. Table 8 splits the claims reviewed to a

      “Later Notice” into separate sections distinguishing claims receiving Notices afier we conduct a

      Reconsideration review from claims reviewed for additional materials submitted by a claimant in

      response to an Incompleteness Notice.


                                               A. Claims Reviewed to First otke
                                     Status of All Claims Filed                                  Productivity Since Last Report on 4/11/13
                           Total                .                                                                   Avg              Reviews Avg Daily
                                         Reviews
         cl       T“      Claims                                Claims Remawin, New
                                                                   .                 .   .



                                       Completed to                                                    .            Daily           Completed Reviews to
                           .

                         Filed To                                               Claims
                                                                                .
                                                    .               to Review                      .               Claims            to First    First
                           Date           Notice                                 Filed
                                                                                                                    Filed             Notice    Notice
 I.     Seafood           23,862      19,998            84%      3,864              16%           245                8                2,890       96
2.      IEL               29,946      23,857            80%      6,089              20%           984               33                2,599       87
3.      IPVIFV                 232     212              91%        20               9%             11                0                 14         0__—
4.      BEL               46,424      21,895            47%      24,529             53%          4,576              153               1,941       65
5.                         3,226       1,986            62%       1,240             38%           298                10                148        5
6.      Failed BEL         2,519       1,777            71%       742               29%           146                5                 166        6
7.      Coastal RP        23,841      22,031            92%      1,810              8%           1,981              66                2,597       87
8.      Wetlands RI’      5,234       2,855             55%      2,379              45%           895               30                363         12
9.      RI’S               1,142       951              83%       191               17%            95                3                 77         3
10.     Subsistence       18,947      2,605             14%      16,342             86%          2,838              95                1,290      43
11.     VoO               8,292       8,111             98%       181               2%            100                3                 142        5
12.     Vessel             1093        860              79%       233               21%           128                4                111         4
13.     TOTAL            164,758     107,138            65%      57,620             35%          12,297             410         J    12,338      411
                                            B. Claims Reviewed to Later Notice
                            initial or Preliminary         Follow-Up Incompleteness          Requests for
                          Incom leteness Response                  Responses                Reconsideration
        Claim T      e              Claims                          Claims                     Claims
                         Total       with     Remaining Total        with Remaining Total       with Remaining
                       Responser Later          Claims Responses Later         2 Requests Later
                                                                               Claims                    2
                                                                                                         Claims
                                    Notice                          Notice                     Notice
1.      Seafood          4,409       2,402       2,007      961       421        540  1,384     624        760
2.      IEL              11,297      6,353              4,944          2,698             1,190             1,508          1,513         582      931
3.      IPVIFV             74         66                  8                22                9              13             15            2       13
4.      BEL              11,276      6,794              4,482          3,637_            1,844             1,793          1,756         587     1,169
5.      Start-Up BEL      1,066       723               343            497               209               288            171           36       135
6.      Failed BEL        568         366               202            279               141               138            237           92       145
7.      Coastal RI’       3,529      2,964              565            818               577               241            907          587       320



                                                                       9
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L
8.    WetlandsRP       175       128       47             21         15           6     266
                                                                                                        : ::,:
                                                                                                 101      165
9.    RPS              157       148       9              36         34           2      121     88       33
10.   Subsistence      613       112      501             25          1          24      29       5       24
11.   VoO              831      810        21          333          305          28     536     372       164
12.   Vessel           508      438        70           183         135          48      79      42       37
13.   TOTAL           34,503   21,304    13,199       9,510        4,881        4,629   7,014   3,118    3,896

            C. Claim Payments.

               1. Notices and Payments.

            We issued our first payments to claimants on July 31, 2012. Tables 4 and 5 of the Public

  Report attached at Appendix A provide detail on the notices and payments issued to date. As of

  May 10, 2013, we have issued 40,459 Eligibility Notices with Payment Offers totaling

  $3,224,375,803 billion. As ofthat date, we also have made over $2.14 billion in payments on

  31,980 claims.

               2. Claimants in Bankruptcy.

            Since the Claims Administrator approved the procedures for making Settlement

 Payments to claimants in bankruptcy on February 20, 2013, we have issued Bankruptcy Notices

 to approximately 60 claimants who had previously received Eligibility Notices. We continue to

 review these claim files to determine if the claimants submitted the documents necessary to

 remove the bankruptcy hold so the claims can be paid. For claimants who have not submitted all

 of the requested documentation, we continue to reach out to those claimants to let them know

 what needs to be submitted to so they can receive payment on their claims.

            D. Re-Reviewsg Reconsiderations and Appeals.

               1. Re-Review Reviews and Outcomes.

            The Claims Administrator implemented a Re-Review process beginning on January 18,

 2013. that provides claimants with the opportunity to request a Re-Review of their claim within

                                                     10
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30 days after an Eligibility or Denial Notice if they have additional documents not previously

submitted to support their claim. This Re-Review leads to a Post Re-Review Notice, from which

claimants may then request Reconsideration ifthey wish. To date, there have been 30,727

Eligibility and Denial Notices issued from which claimants can seek Re-Review. Of those,

5,017 are still within the 30 day window to seek Re-Review and have not yet done so, leaving

25,710 that have passed the window for seeking Re-Review. Of those, claimants have asked for

Re-Review of 1,326 claims. Thus, the rate of Re-Review from all final determinations is 5.2%.

The rate of Re-Review from Eligibility Notices is 4% and the rate of Re-Review from Denial

Notices is 10%.

       Table 9 summarizes the Re-Reviews Reviews we have completed, the number of Post-

Re-Review Notices we have issued, and whether the outcome of the Re-Review review resulted

in an award that was higher (t) lower (.j,),or the same (+-). The table also includes information

showing whether an original Exclusion Denial was confirmed or overturned on Re-Review. The

number of Notices issued is fewer than the reviews completed because there is a 36 hour lag time

between when the review is completed and when the Notice is issued.




                                                  11
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                ?

                                         A. Re-Review Requests and Reviews
                                                                                    Reviews Completed To Date
                                             Requests Received To                           Completed
              Claim Type                                                                                  Average
                                                       ae                      Total        Since Last    Weekly
         .




                        .
                                                                                             Report       Reviews
1. Seafood                                           330                        111             24            6
2.LEL                                                116                         15              2            1
                                                       7                          0              0           0
 4.BEL                                               381                        130             4            7
 5. Start-Up BEL                                      16                          5             0            0
 6. Failed BEL                                        38                        34              0            2
 7. Coastal                                          242                        182             16          10
 8. Wetlands                                         137                       113              0            7
 9. Real Property Sales                               10                         10             0             1
10. Subsistence                                       11                         0              0            0
11.VoO                                                34                        34              2            2
12. Vessel                                            4                           1             0            1
13. TOTAL                                           1,326                      635             48           37


                                  .          B. Re-Review Notices Issued
                                 Notices Issued                                 Outcome of Review
                                                          Compensation
        Claim Type               Total                     Amount for                           Exclusion/Denials
                                         Weekly
                                Issued   Averaore         Eligible Claims
                    •           toDate                ——


                                                         t         J.      ÷‘           Confirmed         Overturned
1.  Seafood                      101           5        53 4               38               5                  1
2.  IEL                           4            0         0 0                0               4                  0
3.IPV/FV                          6            0         00                 0               6                  0
    BEL                          130           7        56 8               18              45                  2
5.  Start-Up BEL                  4            0         3 0               0                1                  0
6.  Failed BEL                   25            1         0 0               0               25                  0
7.  Coastal                      88            5        21 1               16              51                  1
8.  Wetlands                     21            1         2 0               0               20                  1
9.  Real Property
                                  4                      0         1       0               3                   0
      Sales
10. Subsistence                    0            0       0           0      0               0                   0
l1.VoO                            30            2       7           5     12               8                   2
12 Vessel                          1            1       0           0      0               1                   0
13. TOTAL                        414           22      142         19     84              169                  7


                                                              12
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                2. Reconsideration Reviews and Outcomes.

            To date, there have been 68,114 Eligibility, Denial and Incompleteness Denial Notices

     issued from which claimants can seek Reconsideration. Of those, 7,989 are still within the 30

     day window to seek Reconsideration and have not yet done so, leaving 60,125 that have passed

  the window for seeking Reconsideration. Of those, claimants have asked for Reconsideration of

     6,972 claims. Thus, the rate of Reconsideration from all final determinations is 11.6%. The rate

     of Reconsideration from Eligibility Notices is 6% and the rate of Reconsideration from Denial

     and Incompleteness Denial Notices is 22%.

            Table 10 summarizes the Reconsideration Reviews we have completed, the number of

  Post-Reconsideration Notices we have issued, and whether the outcome of the Reconsideration

  review resulted in an award that was higher (t) lower (J,),or the same (*_*). The table also

     includes information showing whether an original Exclusion Denial was confirmed or overturned

  on Reconsideration. The number of Notices issued is fewer than the reviews completed because

  there is a 36 hour lag time between when the review is completed and when the Notice is issued.


 ,


                               B. Reconsideration flequests and Reviews
                                                                       Reviews Completed To Date
                                    Requests Received TO                       Completed     Average
              claim Type
                                            Date                   Total       Since Last    Weekly
                                                                                Report       Reviews
1. Seafood                                  1,377                   846            56           60
2. EEL                                      1,502                  1014            76           72
iIPVIFV                                       15                     4              0            0
4. BEL                                      1,744                  1337            96           96
5. Start-Up BEL                              170                    139            13           10
6. Failed BEL                                232                    196             7           14
7. Coastal                                   902                    789            51           56
8. Wetlands                                  267                   262             17           19


                                                     13
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                                                     CLAIMS
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             ‘•

                                         B. Reconsideration Requests and Reviews
                   .                                                        Reviews Completed To Date
                                            Requests Received To
                  Claim ¶‘ype                                                       Completed     Average
                                                       ate              Total       Since Last    Weekly
                                                                                      Report      Reviews
 9.     Real Property Sales                          120                 117            0             8
10.     Subsistence                                   28                  10            0
11.     VoO                                          537                 507            18           36
12.     Vessel                                        78                  63            9             5
13.     TOTAL                                       6,972               5,284          343          377
                                          13. Reconsideration Notices Issued

                                 Notices Issued                             Outcome of Review

              .
           Claim Te
                                                       Compensation
                                ls:u:d     Weekly    Amount for Eligible                   ExelusionfDenials
                                  to       Average   —

                                 Date                                            Confirmed             Overturned
1.     Seafood                   628         16      333    44      162               86                    3
2.     IEL                       687         17       97     6       29              559                    1
       IPV/FV                      4          0        0     0        0                4                    0
4.     EEL                       623         16      213    19      107              262                   23
5.     Start-Up BEL               36          1        7     0        5               23                    1
6.     Failed BEL                 92         2        0      0        0               92                    0
7.     Coastal                   595         16      62     12      212              299                   10
8.     Wetlands                  104         3        11     1       17               75                    0
9.     Real Property
                                 94           2       0      0        2               90                       2
       Sales
10.    Subsistence                 5          0        0     0       0                 5                    0
11.    VoO                       462         12       58     2      109               252          —       41
12     Vessel                     46          1       25     1       7                 13                   0
13.    TOTAL                    3,376        87      806    85      650              1,760                 81

                   3. Appeals.

                       (a) BPAppeals.

             To date, we have issued 13,311 Eligibility Notices that meet or exceed the threshold

      amounts rendering them eligible for BP to appeal. Of those, 430 are still within the time for BP

      to appeal, leaving 12,881 that have passed the window for BP to consider whether to appeal. Of


                                                           14
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 those 12,881, BP has appealed 1,377, or only 10.6%. However, out ofthe 1,377 claims BP has

 appealed, they have subsequently withdrawn 142 appeals, and another 34 have been resolved for

the same amount of the Eligibility Notice. Thus, out of the 1,377 claims BP has appealed, 176

 have either been withdrawn or resolved, confirming that the outcome of the review was correct.

If we remove those 176 from the 1,377 BP has appealed to arrive at a more realistic “rate of

disagreement” BP has with our results, that leaves 1,201 claims out of 12,881, or a 9.3% rate of

disagreement.

            Table 11 provides summary information on the status of BP’s appeals.

       ).                                                  4f$                               :
                                       A. Appeal Filing/Resolution
                                                                               Since Last
                              Status                      As of 4/11/13                     Total
                                                                   .



                                                                                Report
  1.        BP Appeals Filed                        1,020                         357       1,377
  2.        Appeals Resolved                         349                          224        575
  (a)       Withdrawn                                103                           39        142
  (b)       PanelDecided                             40                           117        157
  (c)       Settled by Parties                       171                           39        210
  (d)       Remanded by Panel                         0                            19         19
  (e)       Administratively Closed                   7                             0         7
  (I)       Closed for Reconsideration Review        28                            12        40
                                        B Pending Appeals
  3.        In Pre-Panel Baseball Process                                         549
  4.        Currently Before Panel                                                252
  5.        TOTAL PENDING                                                         801

                      (b) Claimant Appeals.
            Before a claimant may appeal, he must seek Reconsideration and receive a Post

Reconsideration Notice. To date, we have issued 3,376 Post-Reconsideration Notices. Of those,

745 are still within the time for the claimant to appeal, leaving 2,631 that have passed the

window for the claimant to consider whether to appeal. Of those 2,631, claimants have appealed




                                                     15
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                                                1
                                             CLAIMS CENTER
                                             ECONOMIC & PROPERTY DANAGE CIJJMS




 431, or 16.3%. Of the 431 Claimant Appeals, 264 are appeals of Post-Reconsideration Denial

 Notices and 166 are appeals of Post-Reconsideration Eligibility Notices.

           Table 12 provides summary information on the status of Claimant Appeals:
                            -&                                                            ‘


       7                ,                 1a
                                          t
                                          7 o
                                          A. Appeal Filing/Resolution

                                 Status                                          Since Last
                                                            As of 4/11/13                     Total
                                                                                  Report
 1.        Claimant Appeals Filed                                  384              47        431
 2.        Appeals Resolved                                        111              87        198
 (a)       Panel Decided                                            66              84         150
 (b)       Settled by Parties                                       26              -2         24
 (c)       Remanded by Panel                                        0                1          1
 (d)       Administratively Closed                                  4                0         4
 (e)       Withdrawn                                                15               4         19
                                             B Pending Appeals
  3.       In Pre-Panel Baseball Process                                             51
  4.       In Pre-Panel Non-Baseball Process                                         71
  5.       Currently Before Panel                                                   111
  6.       TOTAL PENDING                                                            233

                      (c) Resolved Appeals.

           As reported in the tables above, 773 Claimant and BP Appeals have been resolved. Table

 13 provides a summary of these resolved appeals, by Claim Type.




                                                       16
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               Case 2:10-md-02179CJB-SS d                                    PJRIi 05/13/13 Page 18 of 21
                                                   * CLAIMS CENTER
                                                         ECONO’1tC & P1GPERTY OAI’tAGC CLAMS




                                                         Table 13 Outcome After Appeal

                               Appeals Settled or Decided by Panel
                                                                                                               Closed
                                  Award Amount after Appea,                                               .    Because
     Claim Type                   Compared to Original Notice          Withdrawn                              Claimant Total
                                                          Denial                                              Asked For
                                                 Denial
                                                              .



                     Higher
                       .

                                 Lower  Same              Over- Remand                                         zecon.
                                                Upheld
                                                     .   turned
1.     Seafood         10         76      7        5        0      1       39                        3           8      149
2.     BEL             65         156         7          34              5        12           89    5           31     404
       Wetlands
3.     Real                0       1          2           2              0        0             2    0           0       7
       Property
       Coastal
4.     Real                0       2          4           5              0         1            4    0           0       16
       Property
       Real
5.     Property            0       2          2          13              0        0             2    1           0      20
       Sales
   VoO
6. Charter             17         29          14         22              9        2            17    2           0      112
   Payment
7.TEL                  5           8          2          19              2        1             4    0           1      42
8.VPD                  10          6          0          0               0        3             4    0           0      23
9.     Total          107        280          38         100          16         20            161   11         40      773


                                        II.        CLAIMANT OuTREAcH EFFORTS

                  We have continued our Claimant Outreach efforts since the previous Court Status Report:

                  A. Law Firm Contacts.

                  The Law Firm Contacts team continued to increase their outreach efforts related to

         Identity Verification Incompleteness Notices, in addition to continued outreach efforts across

         several damage categories related to incompleteness reasons. Firm Contacts continued to

         facilitate conference calls held in collaboration with the accountants to efficiently address

         documentation requirements and resolve outstanding Program questions. Firm Contacts also

         continued outreach efforts regarding incomplete payment documentation.


                                                                    17
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                                             CLAIMS CENTER
                                             ECONOMIC & PROPERTY DAMAGE CLA1MS




             B. Communications Center (CCCi.

             The CCC continues to enhance Claimant Outreach efforts by working directly with each

      damage category. Continued outreach campaigns included calls to claimants who emailed the

      Program with questions or status inquiries, incomplete claims, Identity Verification issues, and to

      claimants with incomplete payment documentation. The CCC continuously seeks self-

      improvement. By increasing the frequency of structured and informal Agent feedback, the CCC

      is improving Agent competency and realizing an increase in positive feedback from Claimants.

             C. Claimant Assistance Centers (CACs).

             The Claimant Outreach Program (COP) continues at the CACs. To date, the COP has

      completed over 42,500 outreach calls to claimants. The CACs continued outreach efforts to

      claimants with incomplete claims across all damage categories. In addition to these outreach

      efforts, the team called claimants who filed claims of all claim types in a CAC.

             EL Summary of Outreach Calls.

             The table below summarizes some of the Claimant Outreach Program efforts:

                                     Tib1ø      ôurd Call Voitane
                                               (A
                                                                          % of
                                                              Claims                     Claimants       % of
                                           Incomplete                    Claims
                                Calls                        With New                     Visiting     Claimants
Row          Location                        Claims                     With New
                                Made                           Does                        CAC          Visiting
                                            Affected                    Does After
                                                             After Call                  After. Call     CAC
                                                                          Call
1.     BrownGreer               42,506        16,221          12,142      75%              6,068         37%
2.     Garden City Group        39,485         6,257           4,354      70%               408           7%
3.     P&N                      10,967         3,115           2,404      77%                91           3%
4.     PWC                       738            298             264        89%                9           3%
5.     Total                    93,696        25,891          19,164      74%              6,576         25%




                                                        18
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                                         CLAIMS CENTER
                                         ECONOMIC & PROPERtY DAMAGE CLAIMS




                                       ifi.    PoLICY KEEPER

        On May 7, 2013, we added 242 additional policies to Policy Keeper. With the addition

of these new policies, Policy Keeper now has 306 policies for the public to review. The Parties

agreed to publicize these policies because they affect how claims are processed in the Settlement

Program and inform claimants and the public about policy decisions not explicitly delineated

within the Settlement Agreement. By providing these policies to the public, they help claimants

and Appeals Panelists understand what policy was in place when the Claims Administrator

reviewed a particular claim. Further, to provide transparency in how the Settlement Program

reviews claims, we included superseded policies. Several policies have a long history and have

changed significantly over time, thereby changing the review steps and criteria for certain Claim

Types. For these reasons, we provided claimants and the public with any policy that may have

affected the review of their claims.

                                        1V.      CONCLUSION

       We offer this Report to ensure that the Court is informed of the status of the Program to

date. If the Court would fmd additional information helpful, we stand ready to provide it at the

Court’s convenience.



                                                                    Is! Patrick A. Juneau
                                                                    PATRICK A. JUNEAU
                                                                    CLAIMS ADMINISTRATOR




                                                   19
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                                       CLAIMS         CENTER
                                       ECONOMIC PROPERTY DAMAGE CLAIMS
                                               &




                                CERTIFICATE OF SERVICE

       I hereby certif’ that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CMIEDF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 13
              th
                 day of May, 2013.




                                                               Is! Patrick A. Juneau
                                                               Claims Administrator




                                                   20
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                                                   8i                                    cpd t
                                                                                             [pef
                                                                                             3
Claims Administrator Pathck Juneau has announced that the Settlement Program began issuing payments on July 31, 2012, and has been issuing outcome Notices
since July 15, 2012. The Program will issue Notices on a rolling basis as we complete reviews, and they will include Eligibility Notices, Incompleteness Notices,
and Denial Notices. Each Notice will provide information explaining the outcome. We will post Notices on the secure DWH Portal for any law firm or unrepresented
daimant who uses the DWH Portal. We will notify firms and unrepresented claimants by emafi at the end of each day if we have posted a Notice that day. Firms
and unrepresented claimants may then log onto the DWH Portal to see a copy of the Notice(s). Law Firms or claimants who do not use the DWH Portal will
receive Notices in the mail. Claimants who receive an Eligibility Notice and qualify for a payment will receive that payment after all appeal periods have passed, if
applicable, and the claimant has submitted all necessary paperwork, induding a fully executed Release and Covenant Not to Sue.




     4.      I Misslsslool                      549              17,995               18,544                12%        917                     19,344         20,261             11%
     S.       Texas                             244              8,306                8,550                 6%         673                     7,106          7,779              4%
     6.       Other                            1,068             8,203                9,271                 6%        1,096                    11,540         12,636             7%
     7.       Total                            6,277            147,920              154,197               100%      11,866                   164,758        176,624            100%
                                                                     Chart 1: Filings by State of Residence

  60,000..
  55,500..
  50,000..
  45,000..
  40,000..
  s000..
  30,000•
  25,000..
  20,000..
  15,000..                                                                                                            8,550       7,779
  10,000..
   5,000..
       0.’
                                                                                                                          T6xss
                                                                       — Regiairation Fonas        — claims




    1.       Seafood Compensation Program                                    422                  23,862           24,284                      14%             10,244
    2.       Individual Economic Loss                                        6,225                29,946           36,171                     20%              29,918
             IndMdual Periodic Vendor or Festival Vendor Economic
                                                                             143                    2.32            375                       <1%               232
    4.       BusIness Economic Loss                                          2,500                46,424           48,924                     28%              41,051
    5.       Start-Up Business Economic Loss                                 260                  3,226            3,486                       2%              2,931
    6.       Failed Business Economic Loss                                   252                  2,519            2,771                       2%              2,372
    7.       coastal Real Property                                           845                  23,841           24,686                     14%              16,745
    8.       Wetlands Real Property                                          211                  5,234            5,445                       3%              1,745
    9.       Real Property Sales                                             181                  1,142            1,323                       1%               918
                                                                                               C,
   10.       Subsistence                                                     672                  18,947           19,619                     11%              18,940
   11.       VoO charter Payment                                              93                  8,292            8,385                       5%              5,925
   12.       Vessel Physical Damage                                           62                  1,093            1,155                       1%               958
   13.       Total                                                          11,866               164,758          176,624                    100%             120,034

                                                                Chart 2: Number of Claims by Claim Type

                                                       48,924


                               36,171


                                                                                                24,686
                                                                                                                                          19,619

                                                                                                                                                     8,385
                                                                    3,486
                                                                                                                                                               1,155



                                                                                                                                  _‘



                                                                             I3EEPWATER HORIZON                                                                         Page 1 of 3
                                                                             CLAIMS CENTER                                  Appendix A
                                                                             LC0NOMPQP0tM’lS
               Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 59 of 63




 3.     Bayou La Batre, AL                              21                    849              870               3%                 50              973               1,023                 3%
 4      Bdoxl MS                   —                    36                   1247             1 283              5%     —          59              1 503                                    5%
 5.     Bridge City, E(                                  2                    332              334               1%                 15              575               590                   2%
 6.     Clearwater, FL.                                 73                   2,092            2,165              8%                357             1,594             1,951                  6%
 7.     Cut Off, LA                                     13                    425              438               2%                24               574               598                   2%
 8.     Fort Walton Beach, FL                           12                   1,207    —       1,219              5%                52              1,655             1,707                  6%
 9.     Grand Isle, LA                                   5                    142              147               1%                 6               215               221                   1%
10.     Gretna/Harvey, LA                               38                   1,949            1,987              8%                50              1,981             2,031                  7%
11.     Gulf Shores, AL                                 20                   1,826            1,846              7%                60              2,430             2,490                  8%
1.2.    Houma, LA                                       25                    787   —          812               3%                42              1,018             1,060                 4%
1.3.    Lafitte, LA                                      4                    286              290               1%                12               387               399                   1%
14.     MobIle, AL                                      61                   5,671            5,732             23%               184              6,086             6,270                 21%
15.     Naples, FL                                      24                   1,195            1,219             5%                 35              1,090             1,125                 4%
16.     New Orleans CBO BG, LA
                       —                                15                    332              347               1%                22               346               368                   1%
17.     New Orleans East, LA                            45                   1,877            1,922             8%                108              2,189             2,297                 8%
18.
19.
        Panama City Beach, FL
        Pensacola, FL
                                                        23
                                                        25
                                                                             1,619
                                                                             1,206
                                                                                              1,642
                                                                                              1,231
                                                                                                                7%
                                                                                                                5%
                                                                                                                            L      95
                                                                                                                                   64
                                                                                                                                                   2,346             2,441                 8%
                                                                                                                                                   1,471             1,535                 5%
20.     Total                                          477                  24,827           25,304            100%              1,303            28,816            30,119                100%

                                                                       Chart 3: Number of Claims by Claimant Assistance Center




                                                                            81,7a
              BaySt Louis, MS                     664
             Bayou La Batre, Al.                          1.023


                 B,ldgo cEty IX


                     cutoff,LA                   598
                ,ftonBeach,fl                                               751

                 Grand Isle, LA     221




                     Houma, l.A                              1,060
                     Lafitte, LA   3s9
                     Mohde,AI
                     Naples, H.                                1,125
       New Orleans —C8D 80, LA     3aa




                                          si,o          i,oo         1,oo    2Aoo     zoo    s,Joo    3,500    4,l00   4,500    s,Joo    5,500   6,000     6,500   7,Joo      7,500     8,000




                                                                                                              HORIZON                                                                 Page 2of3

                                                                                -
                                                                                            CLAIMS CENTER
                                                                                     .‘“‘
                              Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 60 of 63
                                   “c                                                                  c4ffipd




   2.     Individual Economic 1.055                    1,280          360      11,766          1,904      1,753     28               504   4,893           511          240        973             24,212
          ITldhtKlusl Penodic Vendoror Festival
                                                                        0        56              4         22        0               37      69             2            28         10              232
   4.     BusIness Economic Loss                       7,266          141       8,264           387       438      1,201             32     2,750          555          319        619             21,972
   5.     Start-Up Business Economic Loss              299              11       934            22         34       29               21      440           66            47        86              1,989
   6.     Failed Business Economic Loss                  8              6        552            34         83       136              408    368            60            33        96              1,784
   7.     Coastal Real Property                       15,526            19      1,947            4         516       0           2,167      719            141          139        924             22,102
   8.     Wetlands Real Property                       1,482            1        74              6         48        0               819      8             9           120        297             2,864
   9.     Real Property Sales                          383              0        35              4         38       14               349     28             3            19        85               958
   10.    SubsIstence                                  472              0        979             9        964        0                6       1            125           31        27              2,614
   11.    VoO Charter Payment                         6,804           14         122             9             0     0               526    544            25            41        45              8,130
   12.    Vessel Physical Damage                       460              9        217             4             0     0               38      78            12            10        35               863
  13.     Total                                       40,459       1,544       30,713          2,428     6,113     1,408         5,109     10,780         2,673        2,942      3,591          107,760




   1.     Seafood Compensation Program                          6,475           $919,549,076             4,742           $812,053,996             4,249           $794,466,992             2,726
   2.     IndIvidual Economic Loss                              1,280           $14,893,090              1,035           $11,611,461               939             $10,281,963             939
          IOdMdt)51 P&odic Vendor Or Festival
     ‘    Vendor Economic Loss                                   4                 14396                   3                 7 961                  3                 7 961                 3
   4.     BusIness Economic Loss                               7,266           $1,726,213,863            6,363       $1,494,475,895               5,306           $889,361,558             5,140
   5.     Start-Up Business Economic Loss                       299             $72,948,962              258             $42,432,057               226             $31,595,190             215
   6.     Failed Business Economic Loss                          8              $1,218,046                3               $589,357                  3               $589,357                3
   7.     Coastal Real Property                                15,526           $95,823,321             13,829           $86,345,130          12,530               $74,554,747            10,004
   8.     Wetlands Real Property                                1,482           $84,341,416              1,344           $65,752,707              1,269            $55,089,828             568
   9.     Real Property Sales                                   383             $21,730,196              365             $20,996,749              349              $20,912,824             324
  10.     Subsistence                                           472             $4,317,052               383             $3,456,000               330              $2,914,641              330
  11.     VoO Charter Payment                                  6,804           $274,543,232             6,620        $268,186,886                 6,415           $262,089,805            4,917
  12.     Vessel Physical Damage                                460             $8,783,152               401             $7,146,264               361              $5,105,595              347
  13.     Total                                                40,459         $3,224,375,803            35,346      $2,813,054,463           31,980              $2,146,970,462           25,516
Legend:

1. Form Begun Includes electronically filed registration or claim forms for the period of time between the moment a claimant or his attorney has initiated the submission of a
                  -


form and moment they complete that filing by submitting the electronic signature. This defmition also includes hard copy registration or claim forms where the DWH Intake
Team is in the process of linking the scanned images and has not yet completed the data entry on that form,
2. Form Submitted Includes electronically filed registration or claim forms after the claimant or his attorney completes the electronic signature and clicks the submit button.
                          -




This definition also includes hard copy registration or claim forms where the DWH Intake Team has completed both the linking of scanned images and the data entry on that
form.
3. Unique Claimants with Form Submitted Counts the unique number of claimants with at least one Claim Form Submitted for each Claim Type. Because claimants may file
                                                  -




claims for more than one Claim Type, the sum of all Claim Types will not equal the count of total unique claimants.
4. Notices Issued The count of Notices Issued in Table 4 counts each unique claim issued a Notice only once. For claims issued multiple Notices, this report uses the following
                      -



hierarchy when counting the claim; (1) Eligible— Payable; (2) Eligible —No Payment; (3) Denial; (4) Incomplete; (5) Withdrawn; (6) Closed.
5. Payment Information The timing of payment can be affected by a number of factors. Even after the DHECC receives a Release, delay in receipt of a W-9, or in receipt of the
                               -



Attorney Fee Acknowledgment Form can delay payment. In addition, any alterations or omissions on the Release Form, or an assertion of a third-party lien against an award
amount, can delay payment. As a result, this report will show a higher number of Accepted Offers than Amounts Paid,
6. Note; The Claims Administrator continually monitors the status of all claim filings. Through this process, the Claims Administrator may find duplicate claims from the same
claimant. In such cases, the Claims Adniinistnstor will close the duplicate claim and only process the remaining valid claim. This report excludes duplicate claims from all counts
of claims filed.




                                                                                        DEEPWATR KORJZON                                                                          Page3of3
                                                                             Z CLAIMS    CENTER
                                                                               6cC4PRQP14TY0G61’dti1
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  DWH 8127                                                                 Analysis of Submissions from Andry Law GrouplAndry Lerner, LLC
                                                                                                     (As of 519113)




   1.     RegIstration Form Begun                                                          88                 22%                   1.       Seafood Coiwensatlon Prooram                                                   1St             32%
   2.     Reglstiatlon Form Signed w/o Claim Form                                          66                 16%                            Innilvidual Economic toss                                                      79              17%
   3.     ClaIm Form Begun                                                                  2                 <1%                            WV or Festival Vendor Ecn* Loss                                                   0             0%
  4.      ClaIm Form SIgned                                                                246                61%                   4.       Business Eamsmic Loss                                                          89              19%
   5.    ]Totai Number of Claimants Represented by Firm                                 402                  100%                   5.       Start-Up Business Econionic Loss                                                  8             2%
                                                                                                                                    6.       Failed Business Economic Loss                                                     3             1%
                                                                                                                                    7.       Cbastal Real Property Damage                                                      9             2%
                                                                                                                                    8.       Wetlands Real Property Damage                                                   10              2%
                                                                                                                                    9.       Real Property Sales Damage                                                        1            <1%
                                                                                                                                    10.      SubsIstence Damage                                                             38               8%
                                                                                                                                    11.      VoO Granter Damage                                                             62              13%
                                                                                                                                    12.      Vessel Physical Damage                                                          16              3%
                                                                                                                                    13.      Total Claims Filed                                                            466             100%




  1.      Seafood Compensation Pmrsm                                  34                                57                  0                0                 0                0            1              6               4                 120
  2.       IndIvidual Economic Loss                                   4                0                34                  6                0                 0                3            0              1               2                  50
  3.       WV or Festival Vendor Economic Loss                        0                0                0                   0                0                 0                0            0              0               0                  0
  4.       Business Economic Loss                                     14               1                26                  1                0                 3                0            2              2               0                  49
  5.       Start-Up Business EconomicLoss                             1                0                 1                  0                0                 0                0            0              0               0                   2
  6.       Failed Business EconomIc Loss                              0                0                0                   0                0                 2                0            0              0               0                   2
  7.       Coastal Real Property Damage                               3                0                0                   0                0                 0                0            0              0               0                  3
  8.       Wetlands Real Property Damage                              0                0                0                   0                1                 0                3            0              0               0                  4
  9.       Real Property Sales Damage                                 0                0                0                   0                0                 0                1            0              0               0                   1
 10.       Subsistence Damage                                         0                0                4                   0                0                 0                0            0              0               0                  4
 11.       VoO Charter Damage                                        46                0                5                   0                0                 0                7            0              0               0                  58
  1.2.     Vessel Physical Damage                                     4                0                4                   0                0                 0                1            0              1               0                  10
                                                                                                                                                                                                                                              303




  1.      Seafood Compensation Program                                      34                      $2,669,584                         26                          $2,291,956                    26                  $2,508,336
  2.      IndIvidual Economic Loss                                          4                        $41,499                             0                             $0                        0                        $0
  3.      WV or Festival Vendor Economic Loss                               0                            $0                              0                             $0                        0                        $0
  4.      Business Economic Loss                                            14                      $4,480,471                         11                          $3,495,447                    9                   $1,703,287
  5.      Start-Up Business Economic Loss                                   1                        $54,830                             0                             $0                        0                        $0
  6.      Failed Business Economic loss                                     0                          $0                                0                             $0                        0                        $0
  7.      Coastal Real PropertyDamage                                       3                        $17,370                             3                          $17,370                      3                     $17,370
  8.      Wetlands Real Property Damage                                     0                            $0                              0                             $0                                                 $0
  9.      Real Property Sales Damage                                        0                            $0                              0                             $0                        0                        $0
 10.      Subsistence Damage                                                0          —                 $0                              0                             $0                        0                        $0
 11.      VoOCharterDaniage                                                 46                      $1,817,400                         46                          $1,817,400                    46                  $1,823,818
 12.      Vessel PhysIcal Damage                                            4                        $26,198                             3                          $20,842                      2                     $18,159
 13.      Total                                                            106                     49,107,332                          89                      $7,643,014                        86                 46,070,970

                                                                                   Chart 1 Registration and Claim Form Filings by Day
                                                                                                         —        Registration Forms         —   Claim Forms
            3°-
            25-




                               \ ,\$. ‘ n
                                                                                                                                                    4’., 4’4’ 4’ 4’4’ 4’4’ 4’ $r$’ .C’4’ 4’ 4,4’
                           h                                   v\ ‘ q\                                        ‘   ‘‘    ‘‘
                                                                                                                                ‘‘$‘ ‘ ‘ “ ‘                                    ‘   ‘‘
                                                                                                                                                                                         0
                                                                                                                                                 “




 Andry Law G-auplAsdry Lernrr, LLC Ins conSorted reprrsentatisn of as additisoal 2S claimanit but the fms boo not yet begun nay Registraties reClaim Forms so sCthe dare of this report. The report does not coast these claimants, because they are not
in tire DWII Programyet.

                                                                                                                       rrggpwavse HOR3ZON
                                                                                                                       CLAIMS CENTER
                              Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 62 of 63
      DWH 8127                                                         Analysis of Submissions from Andry Law GrauplAndry Lemer, LLC
                                                                                                 (As of 519113)




 1.    Claims Nob Under Review                                     0          6   10             5               0           0        0        0           0           0           4            0            15    4%
       (a)OalrnpormNoSidimlited                                    0          0         0        3               0           0        0        0        0              0           0            0             3    1%
       (b)cluimsstSe8Jngouimrorm                                   0          0         0        1               0           0        0        0        0           0              0            0             1    <1%
       (c)ClalmQosnd                                               0          0         0        0               0           0        0        0        0           0              4            0             4    1%
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       (c)Unde,Ilme*nesgRevlew                                    4           0        0         0              0            0        0        0        0           0              a         a                4    1%
       Cd) In claims Review                                       2        31          a         4              1            0        6        3        0          25              0         6            78      19%
       (e) Claim Closed   —   Parcel included In Claim Zone
       after Parcel Eligibility Review                            0           0        0         0              0            0        0        0        0           0          0             0               0     0%
       (f)CnQARevlew                                          20              5        0         0              0            0        0        0        0           1          0            0             26       6%
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3.     ClaIms with Notice Sent                                40          18           0     13                 0            0       0         4        1           4          4            2            86       21%
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      (J) Notice Issued After Claims Review: Claim                                           a               o           a        a        a        a
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      Cs) Notice Issued After Review: Claim Closed            0           2        0         0              0            0       0         0       0           0           0            0                2        <1%
4.    ClalmswIthResponsestoNotlce                             41          19       0         20             0            0       0         0       0           0           8            5                93       22%
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      (b)RenporlsetolncompletenessfleticeRecelyed             2           0        0         4              0            0       a         a       a           0           a            0                6        1%
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      (g) Claimant Requested Re-Review After Payable
      Claim or Claim Eligible But No Payment Pure             3           0        0         0              0            0       0         0       0           0           0            0                3        1%
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                                     Case 2:10-md-02179-CJB-DPC Document 11988-4 Filed 12/16/13 Page 63 of 63
        DWH 8127                                                                          Analysis of Submissions from Andry Law GrouplAndry Lemer, LLC
                                                                                                                    (Asof519113)
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